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                       E x hi bit A
C D C R A n n o u n c es A d diti o n al A cti o ns t o R e d u c e P o p ul ati o n a n d M a xi mi z e S p a c e S yst e m ... P a g e 1 of 4

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       C D C R A n n o u n c e s A d diti o n al A cti o n s t o
       R e d u c e P o p ul ati o n a n d M a xi mi z e S p a c e
       S y st e m wi d e t o A d dr e s s C O VI D- 1 9
       J U L Y 1 0, 2 0 2 0


       E sti m at e s of 8, 0 0 0 i n m at e s c o ul d b e eli gi bl e f or r el e a s e b y e n d of A u g u st, i n a d diti o n
       t o t h e st at e’ s r e d u cti o n of a b o ut 1 0, 0 0 0 p er s o n s si n c e t h e st art of t h e p a n d e mi c

       S A C R A M E N T O – T h e C ali f or ni a D e p art m e nt of C orr e ctio n s a n d R e h a bilit ati o n ( C D C R)
       a n n o u n c e d t o d a y a d diti o n al a c ti o n s t o pr ot e ct it s m o st v ul n er a bl e p o p ul ati o n a n d
       st aff fr o m C O VI D- 1 9, a n d t o all o w st at e pri s o n s t o m axi mi z e a v ail a bl e s p a c e t o
       i m pl e m e nt p h y si c al di st a n ci n g, i s ol ati o n, a n d q u ar a nti n e eff ort s. T h e d e p art m e nt
       e sti m at e s u p t o 8, 0 0 0 c urr e ntl y i n c ar c er at e d p er s o n s c o ul d b e eli gi bl e f or r el e a s e b y
       e n d of A u g u st u n d er t h e s e n e w m e a s ur e s, f urt h er d e c o m pr e s si n g f a ciliti e s.

       “ W e’r e gl a d t h e G o v er n or i s t a ki n g a cti o n t o r el e a s e m or e p e o pl e. T hi s i s a b s ol ut el y
       criti c al f or t h e h e alt h a n d s af et y of e v er y C alif or ni a n. T o o m a n y p e o pl e ar e
       i n c ar c er at e d f or t o o l o n g i n f a ciliti e s t h at s pr e a d p o or h e alt h. S u p p orti n g t h e h e alt h
       a n d s af et y of all C alif or ni a n s m e a n s r el e a s i n g p e o pl e u n n e c e s s aril y i n c ar c er at e d a n d
       tr a n sf or mi n g o ur j u sti c e s y ste m.” J a y J or d a n, E x e c uti v e Dir e ct or, C alif or ni a n s f or
       S af et y a n d J u sti c e

       C D C R’ s pr e vi o u s p a n d e mi c e m er g e n c y d e c o m pr e s si o n eff o rt s h a v e r e d u c e d i n m at e
       p o p ul ati o n s s y st e m wi d e b y a p pr o xi m at el y 1 0, 0 0 0, t o r e d u c e t h e ri s k of C O VI D- 1 9
       tr a n s mi s si o n wit hi n it s f a ciliti e s.

       “ T h e s e a cti o n s ar e t a k e n t o pr o vi d e f or t he h e alt h a n d s af et y of t h e i n c ar c er at e d
       p o p ul ati o n a n d st aff,” C D C R S e cr et ar y R al p h Di a z s ai d. “ W e ai m t o i m pl e m e nt t h e s e
       d e c o m pr e s si o n m e a s ur e s i n a w a y t h at ali g n s b ot h p u bli c h e alt h a n d p u bli c s af et y.”

       U n d er r el e a s e a ut h orit y gr a nt e d t o t h e C D C R S e cr et ar y, w hi c h all o w s alt er n ati v e
       c o nfi n e m e nt or r el e a s e i n a n y c a s e i n w h i c h a n e m er g e n c y e n d an g eri n g t h e li v e s of
       i n c ar c er at e d p er s o n s h a s o c c urr e d or i s i m mi n e nt, C D C R i s p ur s ui n g a s eri e s of
       c o h ort e d r el e a s e eff ort s.

       S o m e c at e g ori e s of r el e a s e s will r e q uir e a d diti o n al r e vi e w f or c ert ai n i n c ar c er at e d
       p er s o n s, a n d s o m e c o h ort s will b e s cr e e n e d o n a r olli n g b a si s. T h e d e p art m e nt
       e sti m at e s, t h at t hr o u g h t h e s e n e w eff ort s u p t o a n e sti m at e d 8, 0 0 0 c urr e ntl y
       i n c ar c er at e d p er s o n s will b e eli gi bl e f or r el e a s e.

       All i n di vi d u al s will b e t e st e d f or C O VI D- 1 9 wit hi n s ev e n d a y s of r el e a s e. C D C R i s
       w or ki n g cl o s el y wit h st a k e h ol d er s, l o c a l l a w e nf or c e m e nt p art n er s, a n d ot h er
       a g e n ci e s t o l e v er a g e st at e a n d f e d er al r e s o ur c e s f or h o u si n g i n t h e c o m m u nit y t o



htt ps:// w w w. c d cr. c a . g o v/ n e ws/ 2 0 2 0/ 0 7/ 1 0/ c d cr- a n n o u n c es- a d diti o n al- a cti o ns-to -r e d u ce - po ... 7 /1 4 /2 0 2 0
C D C R A n n o u n c es A d diti o n al A cti o ns t o R e d u c e P o p ul ati o n a n d M a xi mi z e S p a c e S yst e m ... P a g e 2 of 4

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       h el p m e et t h e r e e ntr y n e e d s of t h e s e i n di vi d u al s. F or all t h o s e r el e a si n g u n d er t h e s e
       eff ort s, C D C R i s m a ki n g vi cti m n otifi c ati o n s i n a c c or d a n c e wit h all C D C R pr o c e d ur e s
       a n d st at e l a w.

       “ T h e A nti- R e ci di vi s m C o aliti o n i s e n c o ur a ge d b y t h e G o v er n or’ s r e s p o n s e t o t h e
       dr a m ati c s pr e a d of C O VI D- 1 9 t hr o u g h C alif or ni a’ s pri s o ns. D uri n g t h e s e diffi c ult
       ti m e s, it i s vit al t h at w e all w or k t o pr ote ct t hi s v ul n er a bl e p o p u l ati o n a n d tr e at t h e m
       wit h t h e di g nit y a n d c o m p a s si o n t h e y d e s e r v e.” S a m L e wi s, E x e c Dir e ct or of A nti
       R e ci di vi s m C o aliti o n.

       “ Aft er wit n e s si n g t h e d e a dl y eff e ct s of C O VI D- 1 9 i n si d e C alif or ni a’ s d a n g er o u sl y
       o v er cr o w d e d pri s o n s, G o v er n or N e w s o m’ s pl a n i s t h e ri g ht d e ci si o n t o h el p pr ot e ct
       t h e li v e s of p e o pl e li vi n g a nd w or ki n g i n si d e pri s o n s a n d i n s urr o u n di n g c o m m u niti e s.
        I n t a ki n g t hi s i m p ort a nt st e p, t h e G o v er n or i s f oll o wi n g t h e u ni v ers al a d vi c e of p u bli c
       h e alt h a n d m e di c al e x p ert s. W e a p pl a u d t h e G o v er n or f o r w or ki n g o n t w o cr u ci al
       fr o nt s: g etti n g t h e m o st v ul n er a bl e p e o pl e o ut of h ar m’ s w a y a n d st e m mi n g t h e
       s pr e a d of C O VI D- 1 9 i n si d e pri s o n s a n d n ei g h b ori n g c o m m u niti e s.” - A n n e Ir wi n,
       Dir e ct or, S m art J u sti c e C alif or ni a.

       N e w eff ort s:

       R el e a s e a n d cr e dit- e ar ni n g a cti o n s

       1 8 0- d a y r el e a s e

       T hi s st at e wi d e c o h ort i s c urr e ntl y b ei n g s cr e e n e d a n d r el e a s e d o n a r olli n g b a si s i n
       or d er t o c o nti n u o u sl y cr e at e m or e s p a c e i n all i n stit uti o n s t hr o u g h o ut t h e p a n d e mi c.
       C D C R e sti m at e s t h at 4, 8 0 0 p e o pl e c o ul d b e eli gi bl e f or r el e a s e b y t h e e n d of J ul y.

       I n or d er t o b e eli gi bl e, i n m at e s m u st m e et t h e f o ll o wi n g crit eri a:
            ◦ H a v e 1 8 0 d a y s or l e s s t o s er v e o n t h eir s e nt e n c e
            ◦ Ar e n ot c urr e ntl y s er vi n g ti m e f or d o m e sti c vi ol e n c e or a vi ol e nt cri m e a s d efi n e d b y l a w
            ◦ H a v e n o c urr e nt or pri or s e nt e n c e s t h at r e q uir e t h e m t o r egi st er a s a s e x off e n d er u n d er P e n al C o d e 2 9 0
            ◦ N ot h a v e a n a s s e s s m e nt s c or e t h at i n di c at e s a hi g h ri s k f or vi ol e n c e



       O n e- y e ar r el e a s e

       C D C R i s al s o r e vi e wi n g f or r el e a s e i n c ar c er at e d p er s o n s wit h 3 6 5 d a y s or l e s s t o
       s er v e o n t h eir s e nt e n c e, a n d w h o r e si d e wit hi n i d e ntifi e d i n stit uti o n s t h at h o u s e l ar g e
       p o p ul ati o n s of hi g h-ri s k p ati e nt s.

       T h e i n stit uti o n s ar e: S a n Q u e nti n St at e Pri s o n ( S Q), C e ntr al C alif or ni a W o m e n’ s
       F a cilit y ( C C W F), C alif or ni a H e alt h C ar e F a cilit y ( C H C F), C alif or ni a I n stit uti o n f or M e n
       ( CI M), C alif or ni a I n stit uti o n f or W o m e n ( CI W), C alif or ni a M e di c al F a cilit y ( C M F),
       F ol s o m St at e Pri s o n ( F O L) a n d Ri c h ar d J. D o n o v a n C orr e cti o n al F a cilit y ( R J D).




htt ps:// w w w. c d cr. c a . g o v/ n e ws/ 2 0 2 0/ 0 7/ 1 0/ c d cr- a n n o u n c es- a d diti o n al- a cti o ns-to -r e d u ce - po ... 7 /1 4 /2 0 2 0
C D C R A n n o u n c es A d diti o n al A cti o ns t o R e d u c e P o p ul ati o n a n d M a xi mi z e S p a c e S yst e m ... P a g e 3 of 4

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       I n or d er t o b e eli gi bl e, i n m at e s m u st m e et t h e f o ll o wi n g crit eri a:
            ◦ H a v e 3 6 5 d a y s or l e s s t o s er v e o n t h eir s e nt e n c e
            ◦ Ar e n ot c urr e ntl y s er vi n g ti m e f or d o m e sti c vi ol e n c e or a vi ol e nt cri m e a s d efi n e d b y l a w
            ◦ H a v e n o c urr e nt or pri or s e nt e n c e s t h at r e q uir e t h e m t o r e gi st er a s a s e x off e n d er
            ◦ N ot h a v e a n a s s e s s m e nt i n di c ati n g a hi g h ri s k f or vi ol e n c e



       I n di vi d u al s w h o ar e 3 0 a n d o v er a n d w h o m e et t h e eli gi bilit y crit eri a ar e i m m e di at el y
       eli gi bl e f or r el e a s e. T h o s e w h o m e et t h e s e crit eri a a n d ar e a g e 2 9 or u n d er will b e
       r e vi e w e d o n a c a s e- b y- c a s e b asi s f or r el e a s e. C D C R will c o n si d er m e di c al ri s k, c a s e
       f a ct or s, a n d ti m e s er v e d, a mo n g ot h er f a ct or s, i n d et er m i ni n g w h et h er t o e x p e dit e
       r el e a s e f or t h o s e i d e ntifi e d i n t hi s c o h ort.

       T h e s e c o h ort s will b e s cr e e n e d o n a r o lli n g b a si s u ntil C D C R d et er mi n e s s u c h
       r el e a s e s ar e n o l o n g er n e c e s s ar y.

       P o siti v e Pr o gr a m mi n g Cr e dit s

       T o r e c o g ni z e t h e i m p a ct o n a c c e s s t o pr o g r a m s a n d cr e dit e ar ni n g d uri n g t h e C O VI D-
       1 9 p a n d e mi c, C D C R will a w ar d a o n e-ti m e P o siti v e Pr o gr a m mi n g Cr e dit ( P P C) t o all
       eli gi bl e i n c ar c er at e d p e o pl e.

       T hi s cr e dit of 1 2 w e e k s will b e a w ar d e d t o h el p off s et n ot o nl y cr e dit s n ot e ar n e d d u e
       t o pr o gr a m s u s p e n si o n s, b ut al s o t o r ec o g ni z e t h e i m m e n s e b ur d e n i n c ar c er at e d
       p e o pl e h a v e s h o ul d er e d t hr o u g h t h e s e u n pr e c e d e nt e d ti m e s.

       I n or d er t o b e eli gi bl e t o r e c ei v e t hi s cr e dit, a n i n c ar c er at e d i n di vi d u al m u st:
            ◦ C urr e ntl y i n c ar c er at e d
                    ◦ T hi s i n cl u d e s all 3 5 a d ult i n stit uti o n s, c o m m u nit y c orr e cti o n al f a ciliti e s, fir e c a m p s, M al e C o m m u nit y
                       R e e ntr y Pr o gr a m, C o m m u nit y Pri s o n er M ot h er Pr o gr a m, C u st o d y t o C o m m u nit y Tr a n siti o n al Pr o gr a m,
                       Alt er n ati v e C u st o d y Pr o gr a m, a n d t h o s e s er vi n g a st at e pri s o n s e nt e n c e i n a st at e h o s pit al.
            ◦ N ot b e c o n d e m n e d t o d e at h or s er vi n g lif e wit h o ut t h e p os si bilit y of p ar ol e
                   ◦ A s t hi s a ut h ori z ati o n e xi st s i n st at e l a w a n d t h er ef or e d o e s n ot r e q uir e a r e g ul ati o n c h a n g e, C D C R
                      m u st f oll o w t h e e x cl u si o n s o utli n e d i n t h e l a w, w h i c h m e a n s t h o s e s er vi n g lif e wit h o ut t h e p o s si bilit y
                      of p ar ol e a n d p e o pl e w h o ar e c o n d e m n e d ar e n ot eli gi bl e f or cr e dit e ar ni n g.
            ◦ N o s eri o u s r ul e s vi ol ati o n s b et w e e n M ar c h 1 a n d J ul y 5, 2 0 2 0
                   ◦ T hi s e n c o m p a s s e s all Di vi si o n “ A” t hr o u g h “ F” off e n s e s, w hi c h i n cl u d e b ut ar e n ot li mit e d t o m ur d er,
                       r a p e, b att er y, a s s a ult, ar s o n, e sc a p e, p o s s e s si o n / di str i b uti o n of c o ntr a b a n d, p o s s e s si o n of a
                       c ell p h o n e, a n d g a n g a cti vit y.



       C D C R e sti m at e s t h at n e arl y 1 0 8, 0 0 0 p e o pl e wi ll b e eli gi bl e f or P PC. Of t h e s e, a b o ut
       2, 1 0 0 w o ul d a d v a n c e t o t h e p oi nt t h e y ar e eli gi bl e f or r el e a s e b et w e e n J ul y a n d
       S e pt e m b er.

       Hi g h- Ri s k M e di c al

       I n di vi d u al s d e e m e d “ hi gh ri s k” ar e c o n si d er e d t o b e at gr e at er ri s k f or m or bi dit y a n d
       m ort alit y s h o ul d t h e y c o ntr a ct C O VI D- 1 9. T h e y i n cl u d e p e o pl e o v er a g e 6 5 w h o h a v e




htt ps:// w w w. c d cr. c a . g o v/ n e ws/ 2 0 2 0/ 0 7/ 1 0/ c d cr- a n n o u n c es- a d diti o n al- a cti o ns-to -r e d u ce - po ... 7 /1 4 /2 0 2 0
C D C R A n n o u n c es A d diti o n al A cti o ns t o R e d u c e P o p ul ati o n a n d M a xi mi z e S p a c e S yst e m ... P a g e 4 of 4

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       c hr o ni c c o n diti o n s, or t h o s e wit h r e s pir at or y ill n e s s e s s u c h a s a st h m a or c hr o ni c
       o b str u cti v e p ul m o n ar y di s e a s e ( C O P D).

       I n or d er t o b e eli gi bl e, i n c ar c er at e d p er s o n s m u st m e et t h e f oll o wi n g crit eri a:
            ◦ D e e m e d hi g h ri s k f or C O VI D- 1 9 c o m pli c ati o n s b y C C H C S
            ◦ N ot s er vi n g L W O P or c o n d e m n e d
            ◦ H a v e a n a s s e s s m e nt i n di c ati n g a l o w ri s k f or vi ol e n c e
            ◦ N o hi g h-ri s k s e x off e n d er s ( H R S O)
                   ◦ H R S O i n di c at e s a c o n vi ct e d s e x off e n d er w h o i s r e q u ir e d t o r e gi st er p ur s u a nt t o P e n al C o d e S e cti o n
                       2 9 0, a n d h a s b e e n i d e ntifi e d t o p o s e a hi g h er ri s k t o c o m mit a n e w s e x off e n s e i n t h e c o m m u nit y, a s
                       d et er mi n e d u si n g a st a n d ar d ri s k a s s e s s m e nt t o ol s f or s e x off e n d er s.



       B a s e d o n i n di vi d u al r e vi e w of e a c h i n c ar c er at e d p er s o n’ s ri s k f a ct or s, a n e sti m at e d
       n u m b er of r el e a s e s i n t hi s c o h ort i s n ot a v ail a bl e.

       A d diti o n al r el e a s e eff ort s

       C D C R i s r e vi e wi n g p ot e nti al r el e a s e pr ot o c ol s f or i n c ar c er at e d p er s o n s w h o ar e i n
       h o s pi c e or pr e g n a nt, a s t h e y ar e c o n si d er e d at hi g h ri s k f or C O VI D- 1 9 c o m pli c ati o n s.
       E v er y b o d y will b e r e vi e w e d b a s e d o n b ot h t h eir c urr e nt h e alt h ri s k a n d ri s k t o p u bli c
       s af et y.

       C D C R will al s o b e e x p e diti n g t h e r el e a s e of i n c ar c er at e d p er s o n s w h o h a v e b e e n
       f o u n d s uit a bl e f or p ar ol e b y t h e B o ar d of P ar ol e H e ari n g s a n d G o v er n or, b ut w h o h a v e
       n ot y et b e e n r el e a s e d fr o m pri s o n.

       Pr e vi o u s D e c o m pr e s si o n Eff ort s:

       T h e s e n e w m e a s ur e s b uil d o n m a n y ot h er s alr e a d y t a k e n t o r e d u c e t h e ri s k of C O VI D-
       1 9 t o all w h o w or k a n d li v e i n t h e st at e pri s o n s y st e m. T h o s e m e a s ur e s i n cl u d e:
            ◦ R e d u ci n g C D C R’ s p o p ul ati o n i n it s i n stit ut i o n s b y m or e t h a n 1 0, 0 0 0 si n c e mi d- M ar c h.
            ◦ I m pl e m e nt e d m e a s ur e s t o s u p p ort i n cr e a s e d p h y si c al dist a n ci n g, i n cl u di n g r e d u ci n g t h e n u m b er of p e o pl e
              w h o u s e c o m m o n s p a c e s at t h e s a m e ti m e, tr a n sf erri n g p e o pl e o ut of l o w er l e v el d or m s t o c ell e d h o u si n g,
              a n d er e cti n g t e nt s t o cr e at e al t er n at e h o u si n g a n d c ar e sit e s.
            ◦ S u s p e n si o n of m o v e m e nt wit hi n a n d b et w e e n i n stit uti o n s, ot h er t h a n f or criti c al p ur p o s e s.
            ◦ S u s p e n si o n of vi sit ati o n, v ol u nt e er s, a n d gr o u p pr o gr a m mi n g.
            ◦ I m pl e m e nt e d m a n d at or y v er b al a n d t e m p er at ur e s cr e e ni n g s f or st aff b ef or e t h e y e nt er a n y i n stit uti o n s a n d
              ot h er C D C R w or k sit e s
            ◦ R ei nf or c e d c o m mit m e nt t o h y gi e n e, b ot h i n stit uti o n al a n d p er s o n al, i n cl u di n g gr e at er a v ail a bili t y of s o a p a n d
              h a n d s a niti z er.
            ◦ Pr o vi di n g e d u c ati o n al m at eri al s t o all st aff a n d i n c a r c er at e d p e o pl e, i n cl u di n g p o st er s, q ui c k r ef er e n c e
              p o c k et g ui d e s, w e bi n ar s, a n d e d u c ati o n al vi d e o s.



       ###




htt ps:// w w w. c d cr. c a . g o v/ n e ws/ 2 0 2 0/ 0 7/ 1 0/ c d cr- a n n o u n c es- a d diti o n al- a cti o ns-to -r e d u ce - po ... 7 /1 4 /2 0 2 0
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                       E x hi bit B
Q u alifi e d St at e wi d e B all ot M e as ur es | C alif or ni a S e cr et ar y of St ate                                                                             P a g e 1 of 4

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Al e x P a dill a
C alif or ni a S e cr et ar y of St at e



      W h at c a n w e h el p y o u wit h ?


                                                                                       S e ar c h




     Q u alifi e d St at e wi d e B all ot M e a s ur e s

     T h e f oll o wi n g i s a li st of st at e wi d e m e a s ur e s t h at h a v e q u a lifi e d f or t h e b all ot. F or t h o s e m e a s ur e s t h at ar e c urr e ntl y
     att e m pti n g t o q u alif y, s e e t h e I niti ati v e a n d R ef er e n d u m Q u alifi cati o n St at u s (/ el e cti o n s/ b all ot-
     m e a s ur e s/i niti ati v e- a n d-r ef er e n d u m- st at u s/) p a g e.

     F or i niti ati v e m e a s ur e s t h at ar e eli gi bl e f or t h e b all ot, s e e t h e Eli gi bl e St at e wi d e I niti ati v e M e a s ur e s
     (/ el e cti o n s/ b all ot- m e a s ure s/i niti ati v e- a n d-r ef er e n d u m- st at u s/ eli g i bl e- st at e wi d e-i niti ati v e- m e a s ur e s/) p a g e. A n
     eli gi bl e i niti ati v e m e a s ur e i s o n e i n w hi c h t h e r e q uir e d n u m b er of si g n at ur e s h a v e b e e n s u b mitt e d t o a n d v erifi e d b y t h e
     c o u nt y el e cti o n s offi ci al s. Eli gi bl e i niti ati v e m e a s ur e s will b e c o m e q u alifi e d f or t h e b all ot o n t h e 1 3 1 st d a y pri or t o t h e
     n e xt St at e wi d e G e n er al El e cti o n u nl e s s wit h dr a w n b y t h e pr o p o n e nt s pri or t o it s q u alifi c ati o n b y t h e S e cr et ar y of St at e.

     F or i nf or m ati o n o n t h e c a m p ai g n c o m mitt e e s t h at h a v e or g a ni z e d t o s u p p ort or o p p o s e pr o p o siti o n s a n d b all ot
     m e a s ur e s o n t h e st at e wi d e b all ot, s e e t h e Pr o p o siti o n s a n d B all ot M e a s ur e s C a m p ai g n Fi n a n c e A cti vit y
     ( htt p:// c al- a c c e s s. s o s. c a. g o v/ C a m p ai g n/ M e a s ur e s/) p a g e.




     N o v e m b er 3, 2 0 2 0, St at e wi d e B all ot M e a s ur e s

     Pr o p o siti o n 1 4

     1 8 8 0. ( 1 9- 0 0 2 2 A 1)
     A U T H O RI Z E S B O N D S T O C O N TI N U E F U N DI N G S T E M C E L L A N D O T H E R M E DI C A L R E S E A R C H. I NI TI A TI V E
     S T A T U T E.

     A ut h ori z e s $ 5. 5 billi o n i n st at e g e n er al o bli g ati o n b o n d s t o f u n d gr a nt s fr o m t h e C alif or ni a I n stit ut e of R e g e n er ati v e
     M e di ci n e t o e d u c ati o n al, n o n- pr ofit, a n d pri v at e e ntiti e s f or: ( 1) st e m c ell a n d ot h er m e di c al r e s e ar c h, t h er a p y
     d e v el o p m e nt, a n d t h er a p y d eli v er y; ( 2) m e di c al tr ai ni n g; a n d ( 3) c o n str u cti o n of r e s e ar c h f a ciliti e s. D edi c at e s $ 1. 5
     billi o n t o f u n d r e s e ar c h a n d t h er a p y f or Al z h ei m er’ s, P ar ki n s o n’ s, str o k e, e pil e p s y, a n d ot h er br ai n a n d c e ntr al n er v o u s
     s y st e m di s e a s e s a n d c o n diti o n s. Li mit s b o n d i s s u a n c e t o $ 5 4 0 milli o n a n n u all y. A p pr o pri at e s m o n e y fr o m G e n er al
     F u n d t o r e p a y b o n d d e bt, b ut p o st p o n e s r e p a y m e nt f or fir st fi v e y e ar s. S u m m ar y of e sti m at e b y L e gi sl ati v e A n al y st a n d
     Dir e ct or of Fi n a n c e of fi s c al i m p a ct o n st at e a n d l o c al g o v er n m e nt s: St at e c o st s of $ 7. 8 billi o n t o p a y off pri n ci p al
     ( $ 5. 5 billi o n) a n d i nt er e st ( $ 2. 3 billi o n) o n t h e b o n d s. A s s o ci at e d a v er a g e a n n u al d e bt p a y m e nt s of a b o ut $ 3 1 0
     milli o n f or 2 5 y e ar s. T h e c o st s c o ul d b e hi g h er or l o w er t h a n t h e s e e sti m at e s d e p e n di n g o n f a ct or s s u c h a s t h e




htt ps:// w w w.s os. c a. g o v/ el e cti o ns/ b all ot- m e as ur es/ q u alifi e d -b all ot- m e as ur es /                                                          7 /1 4 /2 0 2 0
Q u alifi e d St at e wi d e B all ot M e as ur es | C alif or ni a S e cr et ar y of St ate                                                                           P a g e 2 of 4

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    i nt er e st r at e a n d t h e p eri o d of ti m e o v er w hi c h t h e b o n d s ar e r e p ai d. T h e st at e G e n er al F u n d w o ul d p a y m o st
    of t h e c o st s, wit h a r el ati v el y s m all a m o u nt of i nt er e st r e p ai d b y b o n d pr o c e e d s. (1 9- 0 0 2 2 A 1
    ( htt p s:// w w w. o a g. c a. g o v/ s y st e m/fil e s/i niti ati v e s/p df s/ 1 9- 0 0 2 2 A 1 % 2 0 % 2 8 % 2 8 St e m % 2 0 C ell % 2 0 R e s e ar c h % 2 9 %
    2 9 _ 0. p df) .)

    Pr o p o siti o n 1 5

    1 8 7 0. ( 1 9- 0 0 0 8 A 1)
    I N C R E A S E S F U N DI N G F O R P U B LI C S C H O O L S, C O M M U NI T Y C O L LE G E S, A N D L O C A L G O V E R N M E N T
    S E R VI C E S B Y C H A N GI N G T A X A S S E S S M E N T O F C O M M E R CI A L A N D I N D U S T RI A L P R O P E R T Y. I NI TI A TI V E
    C O N S TI T U TI O N A L A M E N D M E N T.

    I n cr e a s e s f u n di n g f or K- 1 2 p u bli c s c h o ol s, c o m m u nit y c oll e ge s, a n d l o c al g o v er n m e nt s b y r e q uiri n g t h at c o m m er ci al
    a n d i n d u stri al r e al pr o p ert y b e t a x e d b a s e d o n c urr e nt m ar k et v al u e. E x e m pt s fr o m t hi s c h a n g e: r e si d e nti al pr o p erti e s;
    a gri c ult ur al pr o p erti e s; a n d o w n er s of c o m m er ci al a n d i n d u stri al pr o p erti e s wit h c o m bi n e d v al u e of $ 3 milli o n or l e s s.
    I n cr e a s e d e d u c ati o n f u n di n g will s u p pl e m e nt e xi sti n g s c ho ol f u n di n g g u ar a nt e e s. E x e m pt s s m all b u si n e s s e s fr o m
    p er s o n al pr o p ert y t a x; f or ot h er b u si n e s s e s, e x e m pt s $ 5 0 0, 0 0 0 w ort h of p er s o n al pr o p ert y. S u m m ar y of e sti m at e b y
    L e gi sl ati v e A n al y st a n d Dir e ct or of Fi n a n c e of fi s c al i m p a ct o n st at e a n d l o c al g o v er n m e nt s: N et i n cr e a s e i n a n n u al
    pr o p ert y t a x r e v e n u e s of $ 7. 5 billi o n t o $ 1 2 billi o n i n m o st y e ar s, d e p e n di n g o n t h e str e n gt h of r e al e st at e
    m ar k et s. Aft er b a c kfilli n g st at e i n c o m e t a x l o s s e s r el at e d t o t h e m e a s ur e a n d p a yi n g f or c o u nt y a d mi ni str ati v e
    c o st s, t h e r e m ai ni n g $ 6. 5 billi o n t o $ 1 1. 5 billi o n w o ul d b e all o c at e d t o s c h o ol s ( 4 0 p er c e nt) a n d ot h er l o c al
    g o v er n m e nt s ( 6 0 p er c e nt). (1 9- 0 0 0 8 ( htt p s:// w w w. o a g. c a. g o v/ s y st e m/fil e s/i niti ati v e s/ p df s/ 1 9- 0 0 0 8 % 2 0 % 2 8 T h e %
    2 0 C alif or ni a % 2 0 S c h o ol s % 2 0 a n d % 2 0 L o c al % 2 0 C o m m u niti e s % 2 0 F u n di n g % 2 0 A ct % 2 0 of % 2 0 2 0 2 0 % 2 9 _ 1. p df) .)

    Pr o p o siti o n 1 6

    A C A 5 ( R e s ol uti o n C h a pt er 2 3), W e b er. G o v er n m e nt pr ef er e n c e s.             ( P D F)
    ( htt p s:// el e cti o n s. c d n. s o s. c a. g o v/ b all ot- m e a s ur e s/ p df/ a c a- 5. p df)

    Pr o p o siti o n 1 7

    A C A 6 ( R e s ol uti o n C h a pt er 2 4), M c C art y. El e cti o n s: di s q u alifi c ati o n of el e ct or s. ( P D F)
    ( htt p s:// el e cti o n s. c d n. s o s. c a. g o v/ b all ot- m e a s ur e s/ p df/ a c a- 6. p df)

    Pr o p o siti o n 1 8

    A C A 4 ( R e s ol uti o n C h a pt er 3 0), M ulli n. El e cti o n s: v oti n g a g e.            ( P D F) ( htt p s:// el e cti o n s. c d n. s o s. c a. g o v/ b all ot-
    m e a s ur e s/ p df/ a c a- 4. p df)

    Pr o p o siti o n 1 9

    A C A 1 1 ( R e s ol uti o n C h a pt er 3 1), M ulli n. T h e H o m e Pr ot e cti o n f or S e ni or s, S e v er e l y Di s a bl e d, F a mili e s, a n d
    Vi cti m s of Wil dfir e or N at ur al Di s a st er s A ct. ( P D F) ( htt p s:// el e cti o n s. c d n. s o s. c a. g o v/ b all ot-
    m e a s ur e s/ p df/ a c a 1 1. p df)

    Pr o p o siti o n 2 0

    1 8 4 0. ( 1 7- 0 0 4 4, A m dt. # 1)
    R E S T RI C T S P A R O L E F O R N O N- VI O L E N T O F F E N D E R S. A U T H O RI Z E S F E L O N Y S E N T E N C E S F O R C E R T AI N
    O F F E N S E S C U R R E N T L Y T R E A T E D O N L Y A S MI S D E M E A N O R S. I NI TI A TI V E S T A T U T E.

    I m p o s e s r e stri cti o n s o n p ar ol e pr o gr am f or n o n- vi ol e nt off e n d er s w h o h a v e c o m pl et e d t h e f ull t er m f or t h eir pri m ar y
    off e n s e. E x p a n d s li st of off e n s e s t h at di s q u alif y a n i n m at e fr o m t hi s p ar ol e pr o gr a m. C h a n g e s st a n d ar d s a n d
    r e q uir e m e nt s g o v er ni n g p ar ol e d e ci si o n s u n d er t hi s pr o gr a m. A ut h ori z e s f el o n y c h ar g e s f or s p e cifi e d t h eft cri m e s
    c urr e ntl y c h ar g e a bl e o nl y a s mi s d e m e a n or s, i n cl u di n g s o m e t h eft cri m e s w h er e t h e v al u e i s b et w e e n $ 2 5 0 a n d $ 9 5 0.
    R e q uir e s p er s o n s c o n vi ct e d of s p e cifi e d mi s d e m e a n or s t o s u b mit t o c oll e cti o n of D N A s a m pl e s f or st at e d at a b a s e.
    S u m m ar y of e sti m at e b y L e gi sl ati v e A n al y st a n d Dir e ct or of Fi n a n c e of fi s c al i m p a ct o n st at e a n d l o c al
    g o v er n m e nt: I n cr e a s e d st at e a n d l o c al c orr e cti o n al c o st s li k el y i n t h e t e n s of milli o n s of d oll ar s a n n u all y,




htt ps:// w w w.s os. c a. g o v/ el e cti o ns/ b all ot- m e as ur es/ q u alifi e d -b all ot- m e as ur es /                                                         7 /1 4 /2 0 2 0
Q u alifi e d St at e wi d e B all ot M e as ur es | C alif or ni a S e cr et ar y of St ate                                                                              P a g e 3 of 4

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    pri m aril y r el at e d t o i n cr e a s e s i n p e n a lti e s f or c ert ai n t h eft-r el at e d cri m e s a n d t h e c h a n g e s t o t h e n o n vi ol e nt
    off e n d er r el e a s e c o n si d er ati o n pr o c e s s. I n cr e a s e d st at e a n d l o c al c o urt-r el at e d c o st s of ar o u n d a f e w milli o n
    d oll ar s a n n u all y r el at e d t o pr o c e s si n g pr o b ati o n r e v o c ati o n s a n d a d diti o n al f el o n y t h eft fili n g s. I n cr e a s e d st at e
    a n d l o c al l a w e nf or c e m e nt c o st s n ot li k e l y t o e x c e e d a c o u pl e milli o n d ollar s a n n u all y r el at e d t o c oll e cti n g a n d
    pr o c e s si n g D N A s a m pl e s fr o m a d diti o n al off e n d er s. (1 7- 0 0 4 4
    ( htt p s:// w w w. o a g. c a. g o v/ s y st e m/fil e s/i niti ati ve s/ p df s/ 1 7- 0 0 4 4 % 2 0 % 2 8 R e d u ci n g % 2 0 Cri m e % 2 9. p df) .)

    Pr o p o siti o n 2 1

    1 8 6 2. ( 1 9- 0 0 0 1)
    E X P A N D S L O C A L G O V E R N M E N T S' A U T H O RI T Y T O E N A C T R E N T C O N T R O L O N R E SI D E N TI A L P R O P E R T Y.
    I NI TI A TI V E S T A T U T E.

    A m e n d s st at e l a w t o all o w l o c al g o v er n m e nt s t o e st a bli s h r e nt c o ntr ol o n r e si d e nti al pr o p erti e s o v er 1 5 y e ar s ol d.
    All o w s r e nt i n cr e a s e s o n r e nt- c o ntr oll e d pr o p erti e s of u p t o 1 5 p er c e nt o v er t hr e e y e ar s fr o m pr e vi o u s t e n a nt’ s r e nt
    a b o v e a n y i n cr e a s e all o w e d b y l o c al or di n a n c e. E x e m pt s i n di vi d u al s w h o o w n n o m or e t h a n t w o h o m e s fr o m n e w r e nt-
    c o ntr ol p oli ci e s. I n a c c or d a n c e wit h C alif or ni a l a w, pr o vi d e s t h at r e nt- c o ntr ol p oli ci e s m a y n ot vi ol at e l a n dl or d s’ ri g ht t o
    a f air fi n a n ci al r et ur n o n t h eir pr o p ert y. S u m m ar y of e sti m at e b y L e gi sl ati v e A n al y st a n d Dir e ct or of Fi n a n c e of fi s c al
    i m p a ct o n st at e a n d l o c al g o v er n m e nt s: P ot e nti al r e d u cti o n i n st at e a n d l o c al r e v e n u e s of t e n s of milli o n s of
    d oll ar s p er y e ar i n t h e l o n g t er m. D e p e n di n g o n a cti o n s b y l o c al c o m m u niti e s, r e v e n u e l o s s e s c o ul d b e l e s s or
    m or e. (1 9- 0 0 0 1 ( htt p s:// o a g. c a. g o v/ s y st e m/fil e s/i niti ati v e s/ p df s/ 1 9- 0 0 0 1 % 2 0 % 2 8 R e nt al % 2 0 Aff or d a bilit y %
    2 0 A ct % 2 9. p df) .)

    Pr o p o siti o n 2 2

    1 8 8 3. ( 1 9- 0 0 2 6 A 1)
    C H A N G E S E M P L O Y M E N T C L A S SI FI C A TI O N R U L E S F O R A P P- B A S E D T R A N S P O R T A TI O N A N D D E LI V E R Y
    D RI V E R S. I NI TI A TI V E S T A T U T E.

    E st a bli s h e s diff er e nt crit eri a f or d et er mi ni n g w h et h er a p p- b a s e d tr a n s p ort ati o n (ri d e s h ar e) a n d d eli v er y dri v er s ar e
    “ e m pl o y e e s” or “i n d e p e n d e nt c o ntr a ct or s.” I n d e p e n d e nt c o ntr a ct or s ar e n ot e ntitl e d t o c ert ai n st at e-l a w pr ot e cti o n s
    aff or d e d e m pl o y e e s —i n cl u di n g mi ni m u m w a g e, o v erti m e, u n e m pl o y m e nt i n s ur a n c e, a n d w or k er s’ c o m p e n s ati o n.
    I n st e a d, c o m p a ni e s wit h i n d e p e n d e nt- c o ntr a ct or dri v er s will b e r e q uir e d t o pr o vi d e s p e cifi e d alt er n ati v e b e n efit s,
    i n cl u di n g: mi ni m u m c o m p e n s ati o n a n d h e alt h c ar e s u b si di e s b a s e d o n e n g a g e d dri vi n g ti m e, v e hi cl e i n s ur a n c e, s af et y
    tr ai ni n g, a n d s e x u al h ar a s s m e nt p oli ci e s. R e stri ct s l o c al r e g ul ati o n of a p p- b a s e d dr i v er s; cri mi n ali z e s i m p er s o n ati o n of
    s u c h dri v er s; r e q uir e s b a c k g r o u n d c h e c k s. S u m m ar y of e stim at e b y L e gi sl ati v e A n al y st a n d Dir e ct or of Fi n a n c e of
    fi s c al i m p a ct o n st at e a n d l o c al g o v er n m e nt s: I n cr e a s e i n st at e p er s o n al i n c o m e t a x r e v e n u e of a n u n k n o w n
    a m o u nt. (1 9- 0 0 2 6 A 1 ( htt p s:// w w w. o a g. c a. g o v/ s y st e m/fil e s /i niti ati v e s/ p df s/ 1 9- 0 0 2 6 A 1 % 2 0 % 2 8 A p p- B a s e d %
    2 0 Dri v er s % 2 9. p df) )

    Pr o p o siti o n 2 3

    1 8 8 2. ( 1 9- 0 0 2 5 A 1)
    A U T H O RI Z E S S T A T E R E G U L A TI O N O F KI D N E Y DI A L Y SI S C LI NI C S. E S T A B LI S H E S MI NI M U M S T A F FI N G A N D
    O T H E R R E Q UI R E M E N T S. I NI TI A TI V E S T A T U T E.

    R e q uir e s at l e a st o n e li c e n s e d p h y si ci a n o n sit e d uri n g tr e at m e nt at o ut p ati e nt ki d n e y di al y si s cli ni c s; a ut h ori z e s
    D e p art m e nt of P u bli c H e alt h t o e x e m pt cli ni c s fr o m t hi s r e q uir e m e nt d u e t o s h ort a g e s of q u alifi e d li c e n s e d p h y si ci a n s if
    at l e a st o n e n ur s e pr a ctiti o n er or p h y si ci a n a s si st a nt i s o n sit e. R e q uir e s cli ni c s t o r e p ort di al y si s-r el at e d i nf e cti o n d at a
    t o st at e a n d f e d er al g o v er n m e nt s. R e q uir e s st at e a p pr o v al f or cli ni c s t o cl o s e or r e d u c e s er vi c e s. Pr o hi bit s cli ni c s fr o m
    di s cri mi n ati n g a g ai n st p ati e nt s b a s e d o n t h e s o ur c e of p a y m e nt f or c ar e. S u m m ar y of e sti m at e b y L e gi sl ati v e A n al y st
    a n d Dir e ct or of Fi n a n c e of fi s c al i m p a ct o n st at e a n d l o c al g o v er n m e nt s: I n cr e a s e d st at e a n d l o c al h e alt h c ar e c o st s,
    li k el y i n t h e l o w t e n s of milli o n s of d oll ar s a n n u all y, r e s ulti n g fr o m i n cr e a s e d di al y si s tr e at m e nt c o st s. (1 9-
    0 0 2 5 A 1 ( htt p s:// w w w. o a g. c a. g o v/ s y st e m/fil e s/i niti ati v e s/ p df s/ 1 9- 0 0 2 5 A 1 % 2 0 % 2 8 % 2 8 Di al y si s % 2 9 % 2 9. p df) .)

    Pr o p o siti o n 2 4




htt ps:// w w w.s os. c a. g o v/ el e cti o ns/ b all ot- m e as ur es/ q u alifi e d -b all ot- m e as ur es /                                                            7 /1 4 /2 0 2 0
Q u alifi e d St at e wi d e B all ot M e as ur es | C alif or ni a S e cr et ar y of St ate                                                                           P a g e 4 of 4

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    1 8 7 9. ( 1 9- 0 0 2 1 A 1)
    A M E N D S C O N S U M E R P RI V A C Y L A W S. I NI TI A TI V E S T A T U T E.

    P er mit s c o n s u m er s t o: ( 1) pr e v e nt b u si n e s s e s fr o m s h ari n g p er s o n al i nf or m ati o n; ( 2) c orr e ct i n a c c ur at e p er s o n al
    i nf or m ati o n; a n d ( 3) li mit b u si n e s s e s’ u s e of “ s e n siti v e p er s o n al i nf or m ati o n” — s u c h a s pr e ci s e g e ol o c ati o n; r a c e;
    et h ni cit y; r eli gi o n; g e n eti c d at a; u ni o n m e m b er s hi p; pri v at e c o m m u ni c ati o n s; a n d c ert ai n s e x u al ori e nt ati o n, h e alt h, a n d
    bi o m etri c i nf or m ati o n. C h a n g e s crit eri a f or w hi c h b u si n e s s e s m u st c o m pl y wit h t h e s e l a w s. Pr o hi bit s b u si n e s s e s’
    r et e nti o n of p er s o n al i nf or m ati o n f or l o n g er t h a n r e a s on a bl y n e c e s s ar y. Tri pl e s m a xi m u m p e n alti e s f or vi ol ati o n s
    c o n c er ni n g c o n s u m er s u n d er a g e 1 6. E st a bli s h e s C alif or ni a Pri v a c y Pr ot e cti o n A g e n c y t o e nf or c e a n d i m pl e m e nt
    c o n s u m er pri v a c y l a w s, a n d i m p o s e a d mi ni str ati v e fi n e s. R e q uir e s a d o pti o n of s u b st a nti v e r e g ul ati o n s. S u m m ar y of
    e sti m at e b y L e gi sl ati v e A n al y st a n d Dir e ct or of Fi n a n c e of fi s c al i m p a ct o n st at e a n d l o c al g o v er n m e nt s: I n cr e a s e d
    a n n u al st at e c o st s of r o u g hl y $ 1 0 milli o n f or a n e w st at e a g e n c y t o m o nit or c o m pli a n c e a n d e nf or c e m e nt of
    c o n s u m er pri v a c y l a w s. I n cr e a s e d st at e c o st s, p ot e nti all y r e a c hi n g t h e l o w milli o n s of d oll ar s a n n u all y, fr o m
    i n cr e a s e d w or kl o a d t o D O J a n d t h e st at e c o urt s, s o m e or all of w hi c h w o ul d b e off s et b y p e n alt y r e v e n u e s.
    U n k n o w n i m p a ct o n st at e a n d l o c al t a x r e v e n u e s d u e t o e c o n o mi c eff e ct s r e s ulti n g fr o m n e w r e q uir e m e nt s o n
    b u si n e s s e s t o pr ot e ct c o n s u m er i nf or m ati o n. (1 9- 0 0 2 1 A 1
    ( htt p s:// w w w. o a g. c a. g o v/ s y st e m/fil e s/i niti ati v e s/ p df s/ 1 9- 0 0 2 1 A 1 % 2 0 % 2 8 C o n s u m er % 2 0 Pri v a c y % 2 0- %
    2 0 V er si o n % 2 0 3 % 2 9 _ 1. p df) .)

    Pr o p o siti o n 2 5

    1 8 5 6. ( 1 8- 0 0 0 9)
    R E F E R E N D U M T O O V E R T U R N A 2 0 1 8 L A W T H A T R E P L A C E D M O N E Y B AI L S Y S T E M WI T H A S Y S T E M B A S E D
    O N P U B LI C S A F E T Y RI S K.

    If t hi s p etiti o n i s si g n e d b y t h e r e q uir e d n u m b er of r e gi st er e d v ot er s a n d ti m el y fil e d, a r ef er e n d u m will b e pl a c e d o n t h e
    n e xt st at e wi d e b all ot r e q uiri n g a m aj orit y of v ot er s t o a p pr o v e a 2 0 1 8 st at e l a w b ef or e it c a n t a k e eff e ct. T h e 2 0 1 8 l a w
    r e pl a c e s t h e m o n e y b ail s y st e m wit h a s y st e m f or pr etri al r el e a s e fr o m j ail b a s e d o n a d et er mi n ati o n of p u bli c s af et y or
    fli g ht ri s k, a n d li mit s pr etri al d et e nti o n f or m o st mi s d e m e a n or s. (1 8- 0 0 0 9
    ( htt p s:// o a g. c a. g o v/ s y st e m/fil e s/i niti ati v e s/ p df s/ 1 8- 0 0 0 9 % 2 0 % 2 8 R ef er e n d u m % 2 0 of % 2 0 S B % 2 0 1 0 % 2 9. p df))




    A s n e w i niti ati v e s e nt er cir c ul ati o n, f ail, b e c o m e eli gi bl e f or, or q u alif y f or a n el e cti o n b all ot, t h e S e cr et ar y of St at e' s
    offi c e will i s s u e i niti ati v e st at u s u p d at e s. T h e u p d at e s c a n b e f o u n d o n o ur I niti ati v e a n d R ef er e n d u m Q u alifi c ati o n
    St at u s (/ el e cti o n s/ b all ot- m e a s ur e s/i niti ati v e- a n d-r ef er e n d u m- st at u s/) p a g e or b y si g ni n g u p f or u p d at e s b el o w.




htt ps:// w w w.s os. c a. g o v/ el e cti o ns/ b all ot- m e as ur es/ q u alifi e d -b all ot- m e as ur es /                                                         7 /1 4 /2 0 2 0
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                        E x hi bit C
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ( 2 ... P a g e 1 of 1 4

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             S u b s cri b e t o D o c u m e nti n g A m eri c a' s P at h t o R e c o v er y t o fi n d o ut a b o ut st at e s' r e o p e ni n g pl a n s




       T o d a y' s R efi n a n c e R at e                              S el e ct L o a n A m o u nt

          2. 5 3 %
          A P R 1 5 Y e a r Fi x e d                                   $ 2 2 5, 0 0 0
                                                                                                                                      C al c ul at e P a y m e nt



            C alif or ni a Pr o p o siti o n 2 0, Cri mi n al
        S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n
                           I niti ati v e ( 2 0 2 0)
   C alif or ni a Pr o p o siti o n 2 0 , t h e Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A
   C oll e cti o n I niti ati v e , i s o n t h e b all ot i n C alif or ni a a s a n i niti at e d st at e                               C alif or ni a
   st at ut e o n N o v e m b er 3, 2 0 2 0.
                                                                                                                                      Pr o p o siti o n 2 0
       A " y e s " v ot e s u p p ort s t hi s i niti ati v e t o a d d cri m e s t o t h e li st of vi ol e nt
       f el o ni e s f or w hi c h e arl y p ar ol e i s r e stri ct e d; r e c at e g ori z e c ert ai n t y p e s
       of t h eft a n d fr a u d cri m e s a s w o b bl er s ( c h ar g e a bl e a s mi s d e m e a n or s
       or f el o ni e s); a n d r e q uir e D N A c oll e cti o n f or c ert ai n mi s d e m e a n or s.

       A " n o " v ot e o p p o s e s t hi s i niti ati v e t o a d d cri m e s t o t h e li st of vi ol e nt
       f el o ni e s f or w hi c h e arl y p ar ol e i s r e stri ct e d; r e c at e g ori z e c ert ai n t y p e s
       of t h eft a n d fr a u d cri m e s a s w o b bl er s ( c h ar g e a bl e a s mi s d e m e a n or s                               El e cti o n d at e
       or f el o ni e s); a n d r e q uir e D N A c oll e cti o n f or c ert ai n mi s d e m e a n or s.
                                                                                                                                       N o v e m b er 3, 2 0 2 0
                                                                                                                                                 T o pi c
                                                                                                                                        L a w e nf or c e m e nt

      O v er vi e w                                                                                                                             St at u s
                                                                                                                                            O n t h e b all ot
   W h at w o ul d t hi s b all ot i niti ati v e c h a n g e a b o ut cri mi n al                                                       Type                  Ori gi n
   s e nt e n ci n g a n d s u p er vi si o n p oli ci e s i n C alif or ni a ?                                                          St at e              Citi z e n s
   S e e al s o: I niti ati v e d e si g n                                                                                              st at ut e

   T h e b all ot i niti ati v e w o ul d a m e n d s e v er al cri mi n al s e nt e n ci n g a n d
   s u p er vi si o n l a w s t h at w er e p a s s e d b et w e e n 2 0 1 1 a n d 2 0 1 6. [ 1]
   T h e b all ot i niti ati v e w o ul d m a k e s p e cifi c t y p e s of t h eft a n d fr a u d cri m e s, i n cl u di n g fir e ar m t h eft,
   v e hi cl e t h eft, a n d u nl a wf ul u s e of a cr e dit c ar d, c h ar g e a bl e a s mi s d e m e a n or s or f el o ni e s, r at h er t h a n
   mi s d e m e a n or s. T h e b all ot i niti ati v e w o ul d al s o e st a bli s h t w o a d diti o n al t y p e s of cri m e s i n st at e
   c o d e — s eri al cri m e a n d or g a ni z e d r et ail cri m e — a n d c h ar g e t h e m a s w o b bl er s ( cri m e s c h ar g e a bl e a s
   mi s d e m e a n or s or f el o ni e s). [ 1]




htt ps:// b all ot p e di a. or g/ C a lif or ni a _ Pr o p ositi o n _ 2 0, _ Cri mi n al _ S e nt e n ci n g, _ P ar ol e, _ a n d _ D N... 7 /1 4 /2 0 2 0
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ( 2 ... P a g e 2 of 1 4

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   T h e b all ot i niti ati v e w o ul d r e q uir e p er s o n s c o n vi ct e d of c ert ai n mi s d e m e a n or s t h at w er e cl a s sifi e d a s
   w o b bl er s or f el o ni e s b ef or e 2 0 1 4, s u c h s h o plifti n g, gr a n d t h eft, a n d dr u g p o s s e s si o n, al o n g wit h
   s e v er alS uotb sh cri
                        er bcri
                             e t om eD s,
                                       o ciu n mcle untidin ng g A dmoerim cea'sti
                                                                                s cP atvi holt eo n Rc eec oavnerd y prt oo stit
                                                                                                                            fi n dutio outn a bwito uth st
                                                                                                                                                        a atmie s'n or,
                                                                                                                                                                    r e ot po e sni un bg mit
                                                                                                                                                                                          pl a tn so t h e
   c oll e cti o n of D N A s a m pl e s f or st at e a n d f e d er al d at a b a s e s. [ 1]
   T h e C alif or ni a D e p art m e nt of C orr e cti o n s a n d R e h a bilit ati o n ( D C R) h a s a p ar ol e r e vi e w pr o gr a m i n
   w hi c h f el o n s c o n vi ct e d of n o n vi ol e nt cri m e s, a s d efi n e d i n l a w, c o ul d b e r el e a s e d o n p ar ol e u p o n
   c o m pl eti n g t h eir s e nt e n c e f or hi s or h er off e n s e wit h t h e l o n g e st i m pri s o n m e nt t er m. T h e b all ot
   i niti ati v e w o ul d r e q uir e t h e p ar ol e r e vi e w b o ar d t o c o n si d er a d diti o n al f a ct or s, s u c h a s t h e f el o n' s a g e,
   m ar k et a bl e s kill s, attit u d e a b o ut t h e cri m e, a n d m e nt al c o n diti o n, a s w ell a s t h e cir c u m st a n c e s of t h e
   cri m e s c o m mitt e d, b ef or e d e ci di n g w h et h er t o r el e a s e a f el o n o n p ar ol e. T h e b all ot i niti ati v e w o ul d
   all o w pr o s e c ut or s t o r e q u e st a r e vi e w of t h e b o ar d' s fi n al d e ci si o n. T h e b all ot i niti ati v e w o ul d al s o
   d efi n e 5 1 cri m e s a n d s e nt e n c e e n h a n c e m e nt s a s vi ol e nt i n or d er t o e x cl u d e t h e m fr o m t h e p ar ol e
   r e vi e w pr o gr a m. [ 1]
   I n C alif or ni a, c o u nti e s ar e r e s p o n si bl e f or s u p er vi si n g p ar ol e d f el o n s c o n vi ct e d of n o n- s eri o u s a n d
   n o n- vi ol e nt cri m e s, a s d efi n e d i n l a w, a n d w h o w er e n ot cl a s sifi e d a s hi g h-ri s k s e x off e n d er s n or
   cl a s sifi e d a s n e e di n g tr e at m e nt fr o m t h e st at e D e p art m e nt of M e nt al H e alt h. C o u nti e s h a v e di s cr eti o n
   o n w h et h er t o p etiti o n t h e j u di ci al s y st e m t o c h a n g e a f el o n' s p o st-r el e a s e s u p er vi si o n t er m s or
   st at u s. T h e b all ot i niti ati v e w o ul d r e q uir e l o c al pr o b ati o n d e p art m e nt s t o a s k a j u d g e t o c h a n g e t h e
   c o n diti o n s or st at u s of a f el o n' s p o st-r el e a s e s u p er vi si o n if t h e f el o n vi ol at e d s u p er vi si o n t er m s f or t h e
   t hir d ti m e.[ 1]
   W h at e xi sti n g l a w s w o ul d t hi s b all ot i niti ati v e c h a n g e ?
   T h e b all ot i niti ati v e w a s d e si g n e d t o m a k e c h a n g e s t o A B 1 0 9 ( 2 0 1 1), Pr o p o siti o n 4 7 ( 2 0 1 4), a n d
   Pr o p o siti o n 5 7 ( 2 0 1 6) —t hr e e m e a s ur e s t h at w er e e a c h i nt e n d e d t o r e d u c e t h e st at e’ s pri s o n i n m at e
   p o p ul ati o n. A c c or di n g t o A s s e m bl y m a n Ji m C o o p er ( D- 9), t h e g o al of t h e i niti ati v e i s t o "[r ef or m] t h e
   u ni nt e n d e d c o n s e q u e n c e s of r ef or m s t o b ett er pr ot e ct t h e p u bli c." [ 2] F or m er G o v. J err y Br o w n ( D)
   di s a gr e e d wit h C o o p er' s a s s e s s m e nt, s a yi n g t h e i niti ati v e i s t h e "l at e st s c ar e t a cti c o n cri mi n al j u sti c e
   r ef or m." [ 3]
   B ef or e Pr o p o siti o n 4 7 a n d Pr o p o siti o n 5 7, a n d a m o nt h aft er t h e p a s s a g e of A B 1 0 9, t h e U. S.
   S u pr e m e C o urt r ul e d t h at o v er cr o w di n g i n t h e st at e' s pri s o n s r e s ult e d i n cr u el a n d u n u s u al
   p u ni s h m e nt a n d affir m e d a l o w er c o urt' s or d er t o r e d u c e t h e pri s o n p o p ul ati o n. A B 1 0 9 s hift e d t h e
   i m pri s o n m e nt of n o n- s eri o u s, n o n- vi ol e nt, a n d n o n- s e x u al off e n d er s, a s d efi n e d i n st at e l a w, fr o m
   st at e pri s o n s t o l o c al j ail s. A B 1 0 9 al s o m a d e c o u nti e s, r at h er t h a n t h e st at e, r e s p o n si bl e f or
   s u p er vi si n g c ert ai n f el o n s o n p ar ol e. Pr o p o siti o n 4 7, w hi c h v ot er s a p pr o v e d i n 2 0 1 4, c h a n g e d s e v er al
   cri m e s, w hi c h t h e m e a s ur e c o n si d er e d n o n- s eri o u s a n d n o n- vi ol e nt, fr o m f el o ni e s or w o b bl er s t o
   mi s d e m e a n or s. F or m er G o v. Br o w n ( D) d e v el o p e d Pr o p o siti o n 5 7, w hi c h v ot er s a p pr o v e d i n 2 0 1 6.
   Pr o p o siti o n 5 7 i n cr e a s e d p ar ol e c h a n c e s f or f el o n s c o n vi ct e d of n o n vi ol e nt cri m e s, a s d efi n e d i n st at e
   l a w, a n d g a v e t h e m m or e o p p ort u niti e s t o e ar n s e nt e n c e-r e d u cti o n cr e dit s f or g o o d b e h a vi or.
   T h e C e nt er o n J u v e nil e a n d Cri mi n al J u sti c e, a n o n pr ofit b a s e d i n S a n Fr a n ci s c o, d e s cri b e d A B 1 0 9
   a n d Pr o p o siti o n s 4 7 a n d 5 7 a s s u c c e s sf ul s e nt e n ci n g r ef or m s t h at r e d u c e d o v er cr o w di n g i n st at e
   pri s o n s. [ 4] A n dr e w D o, c h air of t h e Or a n g e C o u nt y B o ar d of S u p er vi s or s, d e s cri b e d t h e m e a s ur e s a s
   " C alif or ni a’ s d a n g er o u s trif e ct a." [ 5]




       I niti ati v e d e si g n
   Cli c k o n t h e arr o w s ( ▼ ) b el o w f or s u m m ari e s of t h e diff er e nt pr o vi si o n s of t h e b all ot i niti ati v e.
   ► P e n aliti e s f or t h eft-r el at e d cri m e s: cl a s sif yi n g c ert ai n mi s d e m e a n or s a s w o b bl er s




htt ps:// b all ot p e di a. or g/ C a lif or ni a _ Pr o p ositi o n _ 2 0, _ Cri mi n al _ S e nt e n ci n g, _ P ar ol e, _ a n d _ D N... 7 /1 4 /2 0 2 0
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ( 2 ... P a g e 3 of 1 4

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   ► D N A c oll e cti o n: r e q uiri n g c oll e cti o n f or s p e cifi c mi s d e m e a n or s
   ► Crit eri a t o c o n si d er i n n o n vi ol e nt off e n d er p ar ol e pr o gr a m: a d diti o n al f a ct or s t o c o n si d er
   b ef or e Sduebcis cri
                      di nb eg t po arD oolc eu m e nti n g A m eri c a' s P at h t o R e c o v er y t o fi n d o ut a b o ut st at e s' r e o p e ni n g pl a n s
   ► Cri m e s d efi n e d a s vi ol e nt: cri m e s n ot eli gi bl e f or n o n vi ol e nt off e n d er p ar ol e pr o gr a m
   ► C h a n g e s t o pr o b ati o n a n d p ar ol e s u p er vi si o n: r ul e s r e g ar di n g pr o b ati o n vi ol ati o n s a n d
   e x c h a n g e of i nf or m ati o n




       T e xt of m e a s ur e

    B all ot titl e
   T h e offi ci al b all ot titl e i s a s f oll o w s: [ 9]

           R e stri ct s P ar ol e f or N o n- Vi ol e nt Off e n d er s. A ut h ori z e s F el o n y S e nt e n c e s f or C ert ai n
   “       Off e n s e s C urr e ntl y Tr e at e d O nl y a s Mi s d e m e a n or s. I niti ati v e St at ut e. [ 1 0]                                               ”

    P etiti o n s u m m ar y
   T h e s u m m ar y pr o vi d e d f or i n cl u si o n o n si g n at ur e p etiti o n s h e et s i s a s f oll o w s: [ 9]

           I m p o s e s r e stri cti o n s o n p ar ol e pr o gr a m f or n o n- vi ol e nt off e n d er s w h o h a v e c o m pl et e d t h e
   “       f ull t er m f or t h eir pri m ar y off e n s e. E x p a n d s li st of off e n s e s t h at di s q u alif y a n i n m at e fr o m t hi s
           p ar ol e pr o gr a m. C h a n g e s st a n d ar d s a n d r e q uir e m e nt s g o v er ni n g p ar ol e d e ci si o n s u n d er
           t hi s pr o gr a m. A ut h ori z e s f el o n y c h ar g e s f or s p e cifi e d t h eft cri m e s c urr e ntl y c h ar g e a bl e o nl y
           a s mi s d e m e a n or s, i n cl u di n g s o m e t h eft cri m e s w h er e t h e v al u e i s b et w e e n $ 2 5 0 a n d $ 9 5 0.
           R e q uir e s p er s o n s c o n vi ct e d of s p e cifi e d mi s d e m e a n or s t o s u b mit t o c oll e cti o n of D N A
           s a m pl e s f or st at e d at a b a s e. [ 1 0]                                                                                                          ”

    Fi s c al i m p a ct st at e m e nt
   T h e fi s c al i m p a ct st at e m e nt i s a s f oll o w s: [ 9]

           I n cr e a s e d st at e a n d l o c al c orr e cti o n al c o st s li k el y i n t h e t e n s of milli o n s of d oll ar s a n n u all y,
   “       pri m aril y r el at e d t o i n cr e a s e s i n p e n alti e s f or c ert ai n t h eft-r el at e d cri m e s a n d t h e c h a n g e s t o
           t h e n o n vi ol e nt off e n d er r el e a s e c o n si d er ati o n pr o c e s s. I n cr e a s e d st at e a n d l o c al c o urt-
           r el at e d c o st s of ar o u n d a f e w milli o n d oll ar s a n n u all y r el at e d t o pr o c e s si n g pr o b ati o n
           r e v o c ati o n s a n d a d diti o n al f el o n y t h eft fili n g s. I n cr e a s e d st at e a n d l o c al l a w e nf or c e m e nt
           c o st s n ot li k el y t o e x c e e d a c o u pl e milli o n d oll ar s a n n u all y r el at e d t o c oll e cti n g a n d
           pr o c e s si n g D N A s a m pl e s fr o m a d diti o n al off e n d er s. [ 1 0]                                                                        ”

    F ull t e xt
   T h e f ull t e xt of t h e b all ot i niti ati v e i s b el o w: [ 1]




htt ps:// b all ot p e di a. or g/ C a lif or ni a _ Pr o p ositi o n _ 2 0, _ Cri mi n al _ S e nt e n ci n g, _ P ar ol e, _ a n d _ D N... 7 /1 4 /2 0 2 0
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ( 2 ... P a g e 4 of 1 4

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             S u b s cri b e t o D o c u m e nti n g A m eri c a' s P at h t o R e c o v er y t o fi n d o ut a b o ut st at e s' r e o p e ni n g pl a n s




      S u p p ort
   K e e p C alif or ni a S af e i s l e a di n g t h e c a m p ai g n i n s u p p ort of t h e b all ot i niti ati v e.[ 1 1] K e e p C alif or ni a
   S af e n a m e d t h e b all ot i niti ati v e t h e R e d u ci n g Cri m e a n d K e e pi n g C alif or ni a S af e A ct .[ 1] T h e
   c a m p ai g n i s a pr oj e ct of t h e C alif or ni a P u bli c S af et y P art n er s ( C A P S P). [ 2]


    S u p p ort er s
     Offi ci al s
            ◾    A s m. Ji m C o o p er ( D- 9) [ 1 2]
            ◾    A s m. Vi n c e F o n g ( R- 3 4) [ 1 3]

     M u ni ci p aliti e s
            ◾    Or a n g e C o u nt y B o ar d of S u p er vi s or s [ 1 4]

     Or g a ni z ati o n s
            ◾    A s s o ci ati o n f or L o s A n g el e s D e p ut y S h eriff s [ 1 5]
            ◾    L o s A n g el e s P oli c e Pr ot e cti v e L e a g u e [ 1 5]
            ◾    P e a c e Offi c er s R e s e ar c h A s s o ci ati o n of C alif or ni a [ 1 5]

     B u si n e s s e s
            ◾    Al b ert s o n s S af e w a y [ 1 5]




htt ps:// b all ot p e di a. or g/ C a lif or ni a _ Pr o p ositi o n _ 2 0, _ Cri mi n al _ S e nt e n ci n g, _ P ar ol e, _ a n d _ D N... 7 /1 4 /2 0 2 0
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ( 2 ... P a g e 5 of 1 4

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    Ar g u m e nt s
            ◾S u bAs scrim.b e Jit o mD oCc ou om pe nti
                                                     er n g( D-
                                                             A m9)erisc aia' sd, P" atRih gt ht
                                                                                             o Rneoc ow v erC alif
                                                                                                              y t or
                                                                                                                   o finin ad cri
                                                                                                                              o ut ma eb so ut
                                                                                                                                            t h statat are s'e r ce oo pn esinid nerg eplda nnso n s eri o u s
                  a n d n o n vi ol e nt — a n d t h at all o w y o u t o g et o ut of j ail or pri s o n e arli er — ar e dr u g gi n g a n d
                  r a pi n g s o m e b o d y, r a pi n g a d e v el o p m e nt all y di s a bl e d p er s o n, s p o u s al a b u s e, a dri v e- b y
                  s h o oti n g, h u m a n tr affi c ki n g of a c hil d. S o a m yri a d of diff er e nt cri m e s, s o m e 1 7 t o b e e x a ct.
                  T h e p u bli c n e v er h a d a n y i d e a. T h e s e w er e n ot c o n si d er e d s eri o u s or vi ol e nt cri m e s i n t h e
                  st at e of C alif or ni a. W h e n t h e y h e ar it t h e y'r e s h o c k e d." [ 1 6]




      O p p o siti o n

    O p p o n e nt s
     Offi ci al s
            ◾     G o v. J err y Br o w n ( D) [ 1 7]

     Or g a ni z ati o n s
            ◾     A m eri c a n Ci vil Li b erti e s U ni o n of N ort h er n C alif or ni a [ 1 5]

     U ni o n s
            ◾     S EI U C alif or ni a St at e C o u n cil [ 1 8]

     I n di vi d u al s
            ◾     L y n n S c h u st er m a n [ 1 5]
            ◾     P att y Q uilli n [ 1 5]


    Ar g u m e nt s
            ◾     A n a Z a m or a , dir e ct or of pr o s e c ut ori al r ef or m f or t h e A C L U of N ort h er n C alif or ni a, s ai d,
                  " T h e y w o ul d li k e u s t o b eli e v e t h at C alif or ni a i s i n dir e str ait s i n or d er t o r e v er s e m a n y of t h e
                  r ef or m s w e h a v e p ut i n pl a c e si n c e 2 0 1 2. ... W e ur g e t h e pr o p o n e nt s of t hi s n e w eff ort t o
                  r ej e ct t h e Tr u m p A d mi ni str ati o n’ s r et ur n t o t h e f ail e d 1 9 9 0’ s er a of h ar s h s e nt e n ci n g a n d
                  m a s s i n c ar c er ati o n, a s t h e v ot er s of t hi s st at e h a v e c o n si st e ntl y d o n e, a n d i n st e a d w or k
                  t o w ar d k e e pi n g C alif or ni a’ s cri m e r at e s t h e l o w e st i n hi st or y."[ 2]

            ◾     D a n N e w m a n , a p oliti c al c o n s ult a nt f or t h e o p p o siti o n c a m p ai g n, s ai d, "It’ s a pri s o n
                  s p e n di n g s c a m at a ti m e w h e n w e ar e a cti v el y cl o si n g pri s o n s a n d r e all o c ati n g f u n d s t o w ar d
                  w h at’ s n e e d e d i n c o m m u niti e s. T h e y’r e d o u bli n g d o w n o n s oli dif yi n g t h eir pl a c e s o n t h e
                  wr o n g si d e of hi st or y at a criti c al m o m e nt." [ 1 9]




htt ps:// b all ot p e di a. or g/ C a lif or ni a _ Pr o p ositi o n _ 2 0, _ Cri mi n al _ S e nt e n ci n g, _ P ar ol e, _ a n d _ D N... 7 /1 4 /2 0 2 0
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ( 2 ... P a g e 6 of 1 4

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      C a m p ai g n fi n a n c e
             S u b s cri b e t o D o c u m e nti n g A m eri c a' s P at h t o R e c o v er y t o fi n d o ut a b o ut st at e s' r e o p e ni n g pl a n s
   S e e al s o: C a m p ai g n fi n a n c e r e q uir e m e nt s f or C alif or ni a b all ot m e a s ur e s


           T h e c a m p ai g n fi n a n c e i nf or m ati o n o n t hi s p a g e r efl e ct s t h e m o st r e c e ntl y s c h e d ul e d
      r e p ort s pr o c e s s e d b y B all ot p e di a, w hi c h c o v er e d t hr o u g h M ar c h 3 1, 2 0 2 0. T h e d e a dli n e f or
                                          t h e n e xt s c h e d ul e d r e p ort s i s J ul y 3 1, 2 0 2 0.


   T w o P A C s — K e e p C alif or ni a S af e a n d Pr ot e cti n g C alif or ni a C o o p er B all ot M e a s ur e
   C o m mitt e e — w er e r e gi st er e d t o s u p p ort t h e b all ot i niti ati v e. T o g et h er, t h e c o m mitt e e s h a d r ai s e d
   $ 3. 9 9 milli o n, i n cl u di n g $ 2. 0 0 milli o n fr o m t h e C alif or ni a C orr e cti o n al P e a c e Offi c er s A s s o ci ati o n
   Tr ut h i n A m eri c a n G o v er n m e nt F u n d. T h e c o m mitt e e s h a d s p e nt $ 2. 3 8 milli o n. [ 1 5]
   T w o P A C s — C o m mitt e e f or C alif or ni a I s s u e s P A C a n d C alif or ni a P u bli c S af et y a n d
   R e h a bilit ati o n — w er e r e gi st er e d t o o p p o s e t h e b all ot i niti ati v e. T o g et h er, t h e c o m mitt e e s h a d r ai s e d
   $ 8 0 9, 9 7 8, i n cl u di n g $ 2 5 0, 0 0 0 fr o m P att y Q uilli n a n d $ 2 5 0, 0 0 0 fr o m L y n n S c h u st er m a n. T h e
   c o m mitt e e s h a d s p e nt $ 2 3 2, 7 1 3. [ 1 5]

                                    Cash                            I n- Ki n d                  T ot al                      Cash                         T ot al
                              C o ntri b uti o n s             C o ntri b uti o n s       C o ntri b uti o n s         E x p e n dit ur e s         E x p e n dit ur e s
         S u p p ort           $ 3, 7 6 1, 1 7 1. 0 0            $ 2 3 2, 6 2 2. 9 0       $ 3, 9 9 3, 7 9 3. 9 0       $ 2, 1 4 5, 4 8 4. 9 8      $ 2, 3 7 8, 1 0 7. 8 8
         Oppose                   $ 7 6 0, 4 7 8. 3 1             $ 4 9, 5 0 0. 0 0         $ 8 0 9, 9 7 8. 3 1          $ 1 8 3, 2 1 3. 2 2          $ 2 3 2, 7 1 3. 2 2



    S u p p ort
   T h e f oll o wi n g t a bl e i n cl u d e s c o ntri b uti o n a n d e x p e n dit ur e t ot al s f or t h e c o m mitt e e i n s u p p ort of t h e
   i niti ati v e.[ 1 5]
                                                           C o m mitt e e s i n s u p p ort of Pr o p o siti o n 2 0
                                    Cash                            I n- Ki n d                  T ot al                      Cash                         T ot al
      C o m mitt e e
                              C o ntri b uti o n s             C o ntri b uti o n s       C o ntri b uti o n s         E x p e n dit ur e s         E x p e n dit ur e s
    K e e p C alif or ni a
                                  $ 3, 7 3 1, 6 7 1. 0 0         $ 2 3 2, 6 2 2. 9 0       $ 3, 9 6 4, 2 9 3. 9 0      $ 2, 1 3 2, 8 5 5. 5 9       $ 2, 3 6 5, 4 7 8. 4 9
            S af e
        Pr ot e cti n g
        C alif or ni a
     C o o p er B all ot            $ 2 9, 5 0 0. 0 0                  $ 0. 0 0              $ 2 9, 5 0 0. 0 0            $ 1 2, 6 2 9. 3 9           $ 1 2, 6 2 9. 3 9
         M e a s ur e
       C o m mitt e e
           T ot al             $ 3, 7 6 1, 1 7 1. 0 0            $ 2 3 2, 6 2 2. 9 0       $ 3, 9 9 3, 7 9 3. 9 0      $ 2, 1 4 5, 4 8 4. 9 8       $ 2, 3 7 8, 1 0 7. 8 8

     D o n or s
   T h e f oll o wi n g w er e t h e t o p fi v e d o n or s w h o c o ntri b ut e d t o t h e s u p p ort c o m mitt e e. [ 1 5]

                       D o n or                            C a s h C o ntri b uti o n s      I n- Ki n d C o ntri b uti o n s            T ot al C o ntri b uti o n s




htt ps:// b all ot p e di a. or g/ C a lif or ni a _ Pr o p ositi o n _ 2 0, _ Cri mi n al _ S e nt e n ci n g, _ P ar ol e, _ a n d _ D N... 7 /1 4 /2 0 2 0
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ( 2 ... P a g e 7 of 1 4

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      C alif or ni a C orr e cti o n al P e a c e
       Offi c er s A s s o ci ati o n Tr ut h i n                            $ 2, 0 0 0, 0 0 0. 0 0                        $ 0. 0 0                           $ 2, 0 0 0, 0 0 0. 0 0
       A m eriS cu ab sn criG bo ve er
                                    t on Dm oe cntu Fm ue nntid n g A m eri c a' s P at h t o R e c o v er y t o fi n d o ut a b o ut st at e s' r e o p e ni n g pl a n s
       A s s o ci ati o n F or L o s A n g el e s
                                                                     $ 2 0 0, 0 0 0. 0 0                               $ 0. 0 0                               $ 2 0 0, 0 0 0. 0 0
              D e p ut y S h eriff s PI C
      L o s A n g el e s P oli c e Pr ot e cti v e
                                                                     $ 2 0 0, 0 0 0. 0 0                               $ 0. 0 0                               $ 2 0 0, 0 0 0. 0 0
             LeagueIssues P A C
     Ji m C o o p er f or A s s e m bl y 2 0 1 8                     $ 1 2 5, 0 0 0. 0 0                               $ 0. 0 0                               $ 1 2 5, 0 0 0. 0 0
              Al b ert s o n s S af e w a y                          $ 1 0 0, 0 0 0. 0 0                               $ 0. 0 0                               $ 1 0 0, 0 0 0. 0 0

   C alif or ni a C orr e cti o n al P e a c e Offi c er s A s s o ci ati o n
   I n D e c e m b er 2 0 1 8, t h e C alif or ni a C orr e cti o n al P e a c e Offi c er s A s s o ci ati o n' s ( C C P O A) p oliti c al f u n d
   c o ntri b ut e d $ 2 milli o n t o t h e K e e p C alif or ni a S af e P A C. O n J a n u ar y 1 4, 2 0 1 9, C C P O A pr e si d e nt K urt
   St o et zl a s k e d t h e P A C t o r et ur n t h e c o ntri b uti o n. St o et zl s ai d, " A s y o u a w ar e, d uri n g t h e l a st w e e k of
   D e c e m b er 2 0 1 8, C C P O A c o ntri b ut e d t w o milli o n d oll ar s t o y o ur I s s u e s C o m mitt e e. A s y o u m a y n ot
   b e a w ar e, t hi s c o ntri b uti o n w a s m a d e b y o ur p a st pr e si d e nt i n t h e fi n al h o ur s of hi s t er m. T hi s
   c o ntri b uti o n w a s m a d e wit h o ut t h e n e w l e a d er s hi p of C C P O A h a vi n g t h e o p p ort u nit y t o e v al u at e t h e
   pr o p o s e d i niti ati v e, t o d et er mi n e if t h e g o al s of y o ur I s s u e s C o m mitt e e, a n d t h e i niti ati v e, ar e i n st e p
   i n t h e g o al s of C C P O A." St o et zl s ai d t h e C C P O A w a nt e d t h e c o ntri b uti o n b a c k " s o t h at w e c a n
   e v al u at e y o ur p o siti o n s a n d d et er mi n e w h et h er or n ot w e ar e i n s u p p ort." [ 2 0]


    O p p o siti o n
   T h e f oll o wi n g t a bl e i n cl u d e s c o ntri b uti o n a n d e x p e n dit ur e t ot al s f or t h e c o m mitt e e i n o p p o siti o n t o t h e
   i niti ati v e.[ 1 5]
                                                         C o m mitt e e s i n o p p o siti o n t o Pr o p o siti o n 2 0
                                      Cash                            I n- Ki n d                        T ot al                         Cash                           T ot al
      C o m mitt e e
                                C o ntri b uti o n s             C o ntri b uti o n s             C o ntri b uti o n s            E x p e n dit ur e s           E x p e n dit ur e s
        C alif or ni a
     P u bli c S af et y
                                   $ 5 0 0, 0 0 0. 0 0                    $ 0. 0 0                   $ 5 0 0, 0 0 0. 0 0                $ 7 9, 5 2 3. 5 0            $ 7 9, 5 2 3. 5 0
             and
     R e h a bilit ati o n
     C o m mitt e e f or
        C alif or ni a             $ 2 6 0, 4 7 8. 3 1               $ 4 9, 5 0 0. 0 0               $ 3 0 9, 9 7 8. 3 1               $ 1 0 3, 6 8 9. 7 2          $ 1 5 3, 1 8 9. 7 2
       Issues P A C
           T ot al                 $ 7 6 0, 4 7 8. 3 1               $ 4 9, 5 0 0. 0 0               $ 8 0 9, 9 7 8. 3 1            $ 1 8 3, 2 1 3. 2 2             $ 2 3 2, 7 1 3. 2 2

     D o n or s
   T h e f oll o wi n g w er e t h e t o p d o n or s t o t h e o p p o siti o n c o m mitt e e. [ 1 5]

                        D o n or                            C a s h C o ntri b uti o n s             I n- Ki n d C o ntri b uti o n s                  T ot al C o ntri b uti o n s
               L y n n S c h u st er m a n                           $ 2 5 0, 0 0 0. 0 0                               $ 0. 0 0                               $ 2 5 0, 0 0 0. 0 0
                     P att y Q uilli n                               $ 2 5 0, 0 0 0. 0 0                               $ 0. 0 0                               $ 2 5 0, 0 0 0. 0 0
    A m eri c a n Ci vil Li b erti e s U ni o n of
                                                                     $ 2 0 0, 0 0 0. 0 0                           $ 4 9, 5 0 0. 0 0                          $ 2 4 9, 5 0 0. 0 0
              N ort h er n C alif or ni a




htt ps:// b all ot p e di a. or g/ C a lif or ni a _ Pr o p ositi o n _ 2 0, _ Cri mi n al _ S e nt e n ci n g, _ P ar ol e, _ a n d _ D N... 7 /1 4 /2 0 2 0
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ( 2 ... P a g e 8 of 1 4

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          G o v er n or Br o w n' s B all ot
                                                                $ 6 0, 4 7 8. 3 1                            $ 0. 0 0                            $ 6 0, 4 7 8. 3 1
             M e a s ur e C o m mitt e e
             S u b s cri b e t o D o c u m e nti n g A m eri c a' s P at h t o R e c o v er y t o fi n d o ut a b o ut st at e s' r e o p e ni n g pl a n s

    M et h o d ol o g y
   T o r e a d B all ot p e di a' s m et h o d ol o g y f or c o v eri n g b all ot m e a s ur e c a m p ai g n fi n a n c e i nf or m ati o n, cli c k
   h er e.




      B a c k gr o u n d

    Br o w n v. Pl at a
   I n 2 0 0 9, a t hr e e-j u d g e c o urt or d er e d t h e st at e g o v er n m e nt t o r e d u c e t h e pri s o n p o p ul ati o n t o wit hi n
   1 3 7. 5 p er c e nt of t h e st at e pri s o n s’ d e si g n e d c a p a citi e s. T h e t hr e e-j u d g e c o urt s ai d, " u ntil t h e pr o bl e m
   of o v er cr o w di n g i s o v er c o m e it will b e i m p o s si bl e t o pr o vi d e c o n stit uti o n all y c o m pli a nt c ar e t o
   C alif or ni a’ s pri s o n p o p ul ati o n." [ 2 1]
   C alif or ni a a p p e al e d t h e r uli n g t o t h e U. S. S u pr e m e C o urt. T h e st at e g o v er n m e nt s ai d t o ol s e xi st e d t o
   r e s ol v e t h e o v er cr o w di n g i s s u e wit h o ut r e d u ci n g t h e pri s o n p o p ul ati o n, i n cl u di n g c o n str u cti n g n e w
   pri s o n s a n d tr a n sf erri n g pri s o n er s t o ot h er st at e s. I n 2 0 1 1, t h e U. S. S u pr e m e C o urt r ul e d t h at
   o v er cr o w di n g i n t h e st at e' s pri s o n s r e s ult e d i n cr u el a n d u n u s u al p u ni s h m e nt — a vi ol ati o n of t h e
   Ei g ht h A m e n d m e nt — a n d affir m e d t h e l o w er c o urt' s or d er t o r e d u c e t h e pri s o n p o p ul ati o n. J u sti c e
   A nt h o n y K e n n e d y wr ot e t h e c o urt' s 5- 4 d e ci si o n, r uli n g, "t h e c o urt- m a n d at e d p o p ul ati o n li mit i s
   n e c e s s ar y t o r e m e d y t h e vi ol ati o n of pri s o n er s’ c o n stit uti o n al ri g ht s." J u sti c e s Gi n s b ur g, Br e y er,
   S ot o m a y or, a n d K a g a n c o n c urr e d wit h t h e d e ci si o n. T h e r e m ai ni n g f o ur j u sti c e s — S c ali a, T h o m a s,
   R o b ert s, a n d Alit o — di s s e nt e d. J u sti c e S c ali a st at e d, "[ Br o w n v. Pl at a] i s p er h a p s t h e m o st r a di c al
   i nj u n cti o n i s s u e d b y a c o urt i n o ur N ati o n’ s hi st or y: a n or d er r e q uiri n g C alif or ni a t o r el e a s e t h e
   st a g g eri n g n u m b er of 4 6, 0 0 0 c o n vi ct e d cri mi n al s." [ 2 1]


    A s s e m bl y Bill 1 0 9 ( 2 0 1 1)
   I n 2 0 1 1, t h e C alif or ni a St at e L e gi sl at ur e p a s s e d A s s e m bl y Bill 1 0 9 ( A B 1 0 9), k n o w n a s t h e cri mi n al
   c orr e cti o n s r e ali g n m e nt l a w. A B 1 0 9 tr a n sf err e d t h e m a n a g e m e nt a n d s u p er vi si o n of c ert ai n f el o n s,
   w h o w er e c o n vi ct e d of n o n- s eri o u s, n o n- vi ol e nt, a n d n o n- s e x u al cri m e s ( a s d efi n e d i n l a w), fr o m t h e
   st at e g o v er n m e nt t o c o u nt y g o v er n m e nt s. B ef or e A B 1 0 9, st at e l a w r e q uir e d f el o n s t o s er v e
   s e nt e n c e s i n st at e pri s o n. [ 2 2]
   Titl e 2. 0 5 of A B 1 0 9 w a s k n o w n a s t h e P o str el e a s e C o m m u nit y S u p er vi si o n A ct ( P C S A), w hi c h
   r e q uir e d c o u nti e s, r at h er t h a n t h e st at e, t o s u p er vi s e f el o n s c o n vi ct e d of c ert ai n t y p e s of cri m e s aft er
   t h eir r el e a s e fr o m pri s o n. P C S A aff e ct e d f el o n s w h o w er e c o n vi ct e d of cri m e s t h at t h e l a w d e s cri b e d
   a s n o n- s eri o u s a n d n o n- vi ol e nt a n d w h o w er e n ot cl a s sifi e d a s hi g h-ri s k s e x off e n d er s n or cl a s sifi e d
   a s n e e di n g tr e at m e nt fr o m t h e st at e D e p art m e nt of M e nt al H e alt h. T h e P C S A g a v e c o u nti e s t h e
   p o w er t o d e ci d e m et h o d s f or p u ni s hi n g vi ol ati o n s of s u p er vi si o n c o n diti o n s, s u c h a s fl a s h
   i n c ar c er ati o n, m a n d at or y c o m m u nit y s er vi c e, a n d m a n d at or y dr u g tr e at m e nt. C o u nti e s w er e al s o
   gi v e n t h e o pti o n t o p etiti o n a h e ari n g offi c er t o c h a n g e a f el o n' s s u p er vi si o n c o n diti o n s, i n c ar c er at e a
   f el o n i n j ail f or l o n g er t h a n 1 0 d a y s, or r ef er a f el o n t o a r e e ntr y c o urt.[ 8]




htt ps:// b all ot p e di a. or g/ C a lif or ni a _ Pr o p ositi o n _ 2 0, _ Cri mi n al _ S e nt e n ci n g, _ P ar ol e, _ a n d _ D N... 7 /1 4 /2 0 2 0
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ( 2 ... P a g e 9 of 1 4

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   T h e C alif or ni a St at e S e n at e p a s s e d A B 1 0 9 i n a v ot e of 2 4 t o 1 6. T h e C alif or ni a G e n er al A s s e m bl y
   p a s s e d A B 1 0 9 i n a v ot e of 5 1 t o 2 7. G o v. J err y Br o w n ( D) si g n e d A B 1 0 9 i nt o l a w o n A pril 4, 2 0 1 1.
   [ 2 3]
              S u b s cri b e t o D o c u m e nti n g A m eri c a' s P at h t o R e c o v er y t o fi n d o ut a b o ut st at e s' r e o p e ni n g pl a n s


    Pr o p o siti o n 4 7 ( 2 0 1 4)
   S e e al s o: C alif or ni a Pr o p o siti o n 4 7, R e d u c e d P e n alti e s f or S o m e Cri m e s I niti ati v e ( 2 0 1 4)

   I n 2 0 1 4, v ot er s a p pr o v e d Pr o p o siti o n 4 7 i n a v ot e of 5 9. 6 p er c e nt t o 4 0. 4 p er c e nt. Pr o p o siti o n 4 7
   cl a s sifi e d cri m e s t h at t h e i niti ati v e c o n si d er e d n o n- vi ol e nt a n d n o n- s eri o u s a s mi s d e m e a n or s i n st e a d
   of f el o ni e s u nl e s s t h e d ef e n d a nt h a s pri or c o n vi cti o n s f or m ur d er, r a p e, c ert ai n s e x off e n s e s, or
   c ert ai n g u n cri m e s. It al s o p er mitt e d r e- s e nt e n ci n g f or t h o s e c urr e ntl y s er vi n g a pri s o n s e nt e n c e f or
   a n y of t h e off e n s e s t h at t h e i niti ati v e r e d u c e s t o mi s d e m e a n or s. U n d er Pr o p o siti o n 4 7, a b o ut 1 0, 0 0 0
   i n m at e s w er e eli gi bl e f or r e- s e nt e n ci n g, a c c or di n g t o L e n or e A n d er s o n of C alif or ni a n s f or S af et y a n d
   J u sti c e. [ 2 4][ 2 5]
   M or e t h a n $ 1 0. 9 7 milli o n w a s r ai s e d t o s u p p ort t h e b all ot i niti ati v e, i n cl u di n g $ 3. 5 0 milli o n fr o m t h e
   A C L U a n d $ 1. 4 6 milli o n fr o m t h e O p e n S o ci et y P oli c y C e nt er. S u p p ort er s i n cl u d e d Lt. G o v. G a vi n
   N e w s o m ( D), al o n g wit h U. S. S e n. R a n d P a ul ( R- K e nt u c k y) a n d f or m er s p e a k er of t h e U. S. H o u s e
   N e wt Gi n gri c h ( R- G e or gi a). [ 2 6][ 2 7][ 2 8]
   O p p o n e nt s r ai s e d 5 p er c e nt of w h at s u p p ort er s' r e c ei v e d, t ot ali n g $ 5 5 1, 8 0 0 i n c o ntri b uti o n s. T h e t o p
   c o ntri b ut or t o t h e o p p o siti o n w a s t h e P e a c e Offi c er s R e s e ar c h A s s o ci ati o n of C alif or ni a PI C, w hi c h
   pr o vi d e d $ 2 8 6, 0 0 0. U. S. S e n. Di a n n e F ei n st ei n ( D- C alif or ni a) o p p o s e d Pr o p o siti o n 4 7, a s di d t h e
   st at e R e p u bli c a n P art y. [ 2 9][ 3 0]


    Pr o p o siti o n 5 7 ( 2 0 1 6)
   S e e al s o: C alif or ni a Pr o p o siti o n 5 7, P ar ol e f or N o n- Vi ol e nt Cri mi n al s a n d J u v e nil e C o urt Tri al
   R e q uir e m e nt s ( 2 0 1 6)

   Pr o p o siti o n 5 7 w a s a p pr o v e d wit h 6 4. 5 p er c e nt of t h e v ot e. T h e i niti ati v e i n cr e a s e d p ar ol e c h a n c e s
   f or f el o n s c o n vi ct e d of n o n vi ol e nt cri m e s a n d g a v e t h e m m or e o p p ort u niti e s t o e ar n cr e dit s f or g o o d
   b e h a vi or. T h e m e a s ur e all o w e d i n di vi d u al s c o n vi ct e d of n o n vi ol e nt f el o n y cri m e s w h o s er v e d f ull
   s e nt e n c e s f or t h eir pri m ar y off e n s e a n d p a s s e d s cr e e ni n g f or p u bli c s e c urit y eli gi bl e f or p ar ol e. It al s o
   all o w e d j u d g e s, n ot pr o s e c ut or s, t o d e ci d e w h et h er t o tr y c ert ai n j u v e nil e s a s a d ult s i n c o urt. [ 3 1] U si n g
   n u m b er s fr o m e arl y 2 0 1 6, t h er e w er e a b o ut 2 5, 0 0 0 n o n vi ol e nt st at e f el o n s t h at c o ul d s e e k e arl y
   r el e a s e a n d p ar ol e u n d er Pr o p o siti o n 5 7. [ 3 2]
   T h e m e a s ur e w a s d e v el o p e d b y G o v. J err y Br o w n ( D) a n d b a c k e d b y Lt. G o v. G a vi n N e w s o m ( D),
   f or m er s p e a k er of t h e U. S. H o u s e N e wt Gi n gri c h ( R), a n d t h e C alif or ni a D e m o cr ati c P art y.[ 3 3][ 3 4] T h e
   c o m mitt e e s s u p p orti n g Pr o p o siti o n 5 7 r ai s e d a n a g gr e g at e $ 1 5. 0 4 milli o n, wit h $ 2. 1 7 milli o n fr o m t h e
   st at e D e m o cr ati c P art y, $ 1. 7 5 milli o n fr o m T o m St e y er, a n d $ 1. 0 0 milli o n fr o m M ar k Z u c k er b er g.
   O p p o n e nt s r ai s e d $ 1. 5 1 milli o n i n c o ntri b uti o n s. T h e l ar g e st d o n or s i n cl u d e d t h e A s s o ci ati o n f or L o s
   A n g el e s D e p ut y S h eriff s PI C, w hi c h g a v e $ 2 0 0, 0 0 0, a n d t h e L o s A n g el e s C o u nt y Pr of e s si o n al P e a c e
   Offi c er s' A s s o ci ati o n I E C, w hi c h d o n at e d $ 1 5 0, 0 0 0. T h e C alif or ni a R e p u bli c a n P art y, U. S. R e p. T o m
   M c Cli nt o c k ( R- 4), a n d U. S. R e p. L or ett a S a n c h e z ( D- 4 6) w er e o p p o s e d t o t h e m e a s ur e. [ 3 5][ 3 6][ 3 0]


    C alif or ni a' s st at e i m pri s o n m e nt r at e



htt ps:// b all ot p e di a. or g/ C a lif or ni a _ Pr o p ositi o n _ 2 0, _ Cri mi n al _ S e nt e n ci n g, _ P ar ol e, _ a n d _ D N... 7 /1 4 /2 0 2 0
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ...                                                                        P a g e 1 0 of 1 4

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   Pri or t o t h e e n a ct m e nt of A B 1 0 9' s P o str el e a s e C o m m u nit y S u p er vi si o n A ct ( P C S A) o n J ul y 1, 2 0 1 1,
   t h e st at e' s i m pri s o n m e nt r at e w a s 4 3 1 i n m at e s p er 1 0 0, 0 0 0 r e si d e nt s. T h e n e xt y e ar t h e
   i m pri s So un b sm cri
                        e ntb er tato eD owc au s m 3e nti
                                                       5 6nign Am materie cs a'ps erP at1 0h t0,o 0 R0 e0c ro ev sier yd etnto fis. nIdn o 2ut0 a1 b9,o tuth ste atr ate s'e rf eello pteoni 3n g1 7pli ann sm at e s. T h e
   f oll o wi n g gr a p h ill u str at e s t h e st at e' s i m pri s o n m e nt r at e fr o m 1 9 9 5 t hr o u g h 2 0 1 9. R at e s w er e
   c al c ul at e d u si n g t h e C D C R' s pri s o n p o p ul ati o n r e p ort s a n d t h e U. S. C e n s u s B ur e a u' s a n n u al
   p o p ul ati o n e sti m at e s. [ 3 7][ 3 8]

                ◾      T h e fir st or a n g e b ar r e pr e s e nt s t h e e n a ct m e nt of A B 1 0 9' s P C S A o n J ul y 1, 2 0 1 1.
                ◾      T h e s e c o n d or a n g e b ar r e pr e s e nt s t h e e n a ct m e nt of Pr o p o siti o n 4 7 f oll o wi n g t h e el e cti o n o n
                       N o v e m b er 4, 2 0 1 4.
                ◾      T h e t hir d or a n g e b ar r e pr e s e nt s J ul y 1, 2 0 1 7 —t h e d at e w h e n t h e C D C R st art e d r ef erri n g
                       i n m at e s f or Pr o p o siti o n 5 7' s p ar ol e pr o gr a m.

   C alif or ni a' s st at e i m pri s o n m e nt r at e p er 1 0 0, 0 0 0 r e si d e nt s, 1 9 9 5- 2 0 1 9
         I n m at e s ( p er 1 0 0, 0 0 0 r e si d e nt s)
   500

   480

   460

   440

   420

   400

   380

   360

   340

   320

   300
         1995             1996             1997             1998             1999             2000             2001             2002             2003             2004             2005             2006              2007


   C h art: B all ot p e di a • S o ur c e: C alif or ni a D e p art m e nt of C o rr e cti o n s a n d R e h a bilit ati o n




       P at h t o t h e b all ot
   S e e al s o: C alif or ni a si g n at ur e r e q uir e m e nt s a n d L a w s g o v er ni n g t h e i niti ati v e pr o c e s s i n C alif or ni a

   I n C alif or ni a, t h e n u m b er of si g n at ur e s n e e d e d t o q u alif y a m e a s ur e f or t h e b all ot i s b a s e d o n t h e
   t ot al n u m b er of v ot e s c a st f or t h e offi c e of g o v er n or. F or a n i niti at e d st at e st at ut e, p etiti o n er s m u st
   c oll e ct si g n at ur e s e q u al t o 5 p er c e nt of t h e m o st r e c e nt g u b er n at ori al v ot e. T o g et t hi s m e a s ur e o n
   t h e 2 0 2 0 b all ot, t h e n u m b er of si g n at ur e s r e q uir e d w a s 3 6 5, 8 8 0. I n C alif or ni a, i niti ati v e s c a n b e
   cir c ul at e d f or 1 8 0 d a y s. Si g n at ur e s n e e d e d t o b e c ertifi e d at l e a st 1 3 1 d a y s b ef or e t h e 2 0 2 0 g e n er al
   el e cti o n. A s t h e si g n at ur e v erifi c ati o n pr o c e s s c a n t a k e s e v er al w e e k s, t h e C alif or ni a s e cr et ar y of
   st at e i s s u e s s u g g e st e d d e a dli n e s f or s e v er al m o nt h s b ef or e t h e c ertifi c ati o n d e a dli n e.
   T h e ti m eli n e f or t hi s i niti ati v e w a s a s f oll o w s: [ 3 9]




htt ps:// b all ot p e di a. or g/ C a lif or ni a _ Pr o p ositi o n _ 2 0, _ Cri mi n al _ S e nt e n ci n g, _ P ar ol e, _ a n d _ D N... 7 /1 4 /2 0 2 0
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ...                   P a g e 1 1 of 1 4

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            ◾    Ni n a S al ar n o B e s s el m a n s u b mitt e d a l ett er r e q u e sti n g a titl e a n d s u m m ar y o n O ct o b er 3 1,
                 2 0 1 7.
            ◾S u bAs titl
                      cri b e t o D o c u m e nti n g A m eri c a' s P at h t o R e c o v er y t o fi n d o ut a b o ut st at e s' r e o p e ni n g pl a n s
                           e a n d s u m m ar y w er e i s s u e d b y t h e C alif or ni a att or n e y g e n er al' s offi c e o n J a n u ar y 4,
                  2 0 1 8.
            ◾    O n F e br u ar y 7, 2 0 1 8, t h e c a m p ai g n r e p ort e d c oll e cti n g at l e a st 2 5 p er c e nt of t h e r e q uir e d
                 si g n at ur e s.
            ◾    Pr o p o n e nt s of t h e i niti ati v e n e e d e d t o s u b mit 3 6 5, 8 8 0 v ali d si g n at ur e s b y J ul y 3, 2 0 1 8, i n
                 or d er f or it t o m a k e t h e b all ot.
   O n J ul y 9, 2 0 1 8, S e cr et ar y of St at e Al e x P a dill a r e p ort e d t h at m or e t h a n e n o u g h si g n at ur e s h a d b e e n
   s u b mitt e d f or t h e m e a s ur e t o m a k e t h e b all ot i n 2 0 2 0. [ 4 0]
   C o st of si g n at ur e c oll e cti o n:
   S p o n s or s of t h e m e a s ur e hir e d Ar n o P etiti o n C o n s ult a nt s t o c oll e ct si g n at ur e s f or t h e p etiti o n t o
   q u alif y t hi s m e a s ur e f or t h e b all ot. A t ot al of $ 2, 0 4 6, 1 0 4. 9 9 w a s s p e nt t o c oll e ct t h e 3 6 5, 8 8 0 v ali d
   si g n at ur e s r e q uir e d t o p ut t hi s m e a s ur e b ef or e v ot er s, r e s ulti n g i n a t ot al c o st p er r e q uir e d si g n at ur e
   ( C P R S) of $ 5. 5 9.


    Br o w n v. P a dill a a n d S al ar n o B e s s el m a n


          L a w s uit o v er vi e w
       I s s u e: R e q uir e d n u m b er of si g n at ur e s f or t h e b all ot i niti ati v e

       C o urt : S a cr a m e nt o C o u nt y S u p eri or C o urt

                                                                                    D ef e n d a nt( s) : S e cr et ar y of St at e Al e x P a dill a
       Pl ai ntiff( s) : G o v. J err y Br o w n
                                                                                    a n d Ni n a S al ar n o B e s s el m a n

       Pl ai ntiff ar g u m e nt :
       T h e b all ot i niti ati v e s h o ul d h a v e b e e n                     D ef e n d a nt ar g u m e nt :
       c o n si d er e d a c o n stit uti o n al a m e n d m e nt, a n d            T h e b all ot i niti ati v e m et t h e si g n at ur e
       t h u s s h o ul d h a v e r e q uir e d 5 8 5, 4 0 7 si g n at ur e s,      r e q uir e m e nt s a s r e q uir e d b y t h e s e cr et ar y of
       r at h er t h a n 3 6 5, 8 8 0 si g n at ur e s, t o m a k e t h e           st at e.
       b all ot.

     S o ur c e: A s s o ci at e d Pr e s s

   O n D e c e m b er 2 0, 2 0 1 8, G o v. J err y Br o w n ( D) fil e d liti g ati o n a g ai n st S e cr et ar y of St at e Al e x P a dill a
   ( D) a n d i niti ati v e' s offi ci al pr o p o n e nt, Ni n a S al ar n o B e s s el m a n, i n t h e S a cr a m e nt o C o u nt y S u p eri or
   C o urt. G o v. Br o w n a s k e d t h e c o urt t o i n v ali d at e t h e i niti ati v e b e c a u s e, a c c or di n g t o Br o w n, S e cr et ar y
   of St at e P a dill a u s e d t h e wr o n g si g n at ur e t hr e s h ol d. P a dill a r e q uir e d pr o p o n e nt s t o c oll e ct 3 6 5, 8 8 0
   si g n at ur e s —t h e n u m b er r e q uir e d f or i niti at e d st at e st at ut e s. G o v. Br o w n s ai d 5 8 5, 4 0 7 si g n at ur e s
   s h o ul d h a v e b e e n r e q uir e d —t h e n u m b er r e q uir e d f or i niti at e d c o n stit uti o n al a m e n d m e nt s. A c c or di n g
   t o G o v. Br o w n, t h e i niti ati v e s h o ul d h a v e b e e n tr e at e d a s a c o n stit uti o n al a m e n d m e nt b e c a u s e of it s
   i m p a ct o n t h e c o n stit uti o n al p o w er s t h at Pr o p o siti o n 5 7 ( 2 0 1 6) pr o vi d e d t h e D e p art m e nt of
   C orr e cti o n s a n d R e h a bilit ati o n. [ 4 1]
   J eff Fli nt, a s p o k e s p er s o n f or K e e p C alif or ni a S af e, s ai d, " T h e s e cr et ar y of st at e t ol d u s h o w m a n y




htt ps:// b all ot p e di a. or g/ C a lif or ni a _ Pr o p ositi o n _ 2 0, _ Cri mi n al _ S e nt e n ci n g, _ P ar ol e, _ a n d _ D N... 7 /1 4 /2 0 2 0
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ...                            P a g e 1 2 of 14

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   si g n at ur e s ar e r e q uir e d a n d t h at’ s h o w m a n y w e c oll e ct e d." [ 4 1]

             S u b s cri b e t o D o c u m e nti n g A m eri c a' s P at h t o R e c o v er y t o fi n d o ut a b o ut st at e s' r e o p e ni n g pl a n s


      H o w t o c a st a v ot e
   S e e al s o: V oti n g i n C alif or ni a

   Cli c k " S h o w " t o l e ar n m or e a b o ut v ot er r e gi str ati o n, i d e ntifi c ati o n r e q uir e m e nt s, a n d p oll
   ti m e s i n C alif or ni a.

                                                         H o w t o c a st a v ot e i n C alif or ni a                                                           [ s h o w]




      S e e al s o
                   2 0 2 0 m e a s ur e s                                              C alif or ni a                             N e w s a n d a n al y si s




                     ◾     2 0 2 0 b all ot m e a s ur e s                         ◾      C alif or ni a b all ot                            ◾    B all ot m e a s ur e
                     ◾     L a w e nf or c e m e nt o n                                   m e a s ur e s                                          l a w s uit s
                           t h e b all ot                                          ◾      C alif or ni a b all ot                            ◾    B all ot m e a s ur e
                     ◾     Ci vil a n d cri mi n al tri al s                              m e a s ur e l a w s                                    r e a d a bilit y
                           o n t h e b all ot                                                                                                ◾    B all ot m e a s ur e
                     ◾     2 0 2 0 l e gi sl ati v e                                                                                              p oll s
                           s e s si o n s




      E xt er n al li n k s
            ◾    I niti ati v e # 1 7- 0 0 4 4




htt ps:// b all ot p e di a. or g/ C a lif or ni a _ Pr o p ositi o n _ 2 0, _ Cri mi n al _ S e nt e n ci n g, _ P ar ol e, _ a n d _ D N... 7 /1 4 /2 0 2 0
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ...                            P a g e 1 3 of 14

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                                                                                                     1 5- Y e ar Fi x e d                                     2. 2 5 %
              T o d a y' s R efi n a n c e R at e
             S u b s cri b e t o D o c u m e nti n g A m eri c a' s P at h t o R e c o v er y t o fi n d o ut a b o ut st at e s' r e o p e ni n g pl a n s




                   2. 5 3 %
                                                                                                     3 0- Y e ar Fi x e d                                     2. 7 5 %

                                                                                                     5/ 1 A R M                                               2. 8 8 %
                                         AP R
                                                                                                     $ 2 2 5, 0 0 0 ( 5/ 1 A R M)                       $ 9 3 4/ m o
                       C al c ul at e P a y m e nt
                                                                                                     $ 3 5 0, 0 0 0 ( 5/ 1 A R M)                     $ 1, 4 0 6/ m o




      F o ot n ot e s
         1. C alif or ni a Att or n e y G e n er al , "I niti ati v e # 1 7- 0 0 4 4," a c c e s s e d O ct o b er 3 1, 2 0 1 7
         2. T h e D a vi s V a n g u ar d , " B all ot M e a s ur e S e e k s t o U n d o C alif or ni a’ s Cri mi n al J u sti c e R ef or m,"
            O ct o b er 3 1, 2 0 1 7
         3. T h e S a cr a m e nt o B e e , " D o n’t f all f or t hi s l at e st s c ar e t a cti c o n cri mi n al j u sti c e r ef or m,
            g o v er n or s a y s," F e br u ar y 2 6, 2 0 1 8
         4. C e nt er o n J u v e nil e a n d Cri mi n al J u sti c e , " A B 1 0 9, Pr o p 4 7, a n d Pr o p 5 7 Ar e S af el y
            R e d u ci n g t h e Pri s o n P o p ul ati o n b ut D ur a bl e P u bli c S af et y R e q uir e s F urt h er C ut s i n
                  O nl y t h e fir st f e w r ef er e n c e s o n t hi s p a g e ar e s h o w n a b o v e. Cli c k t o s h o w m or e.




      B all ot p e di a f e at ur e s 3 1 1, 9 7 6 e n c y cl o p e di c arti cl e s writt e n a n d c ur at e d b y o ur pr of e s si o n al st aff of
     e dit or s, writ er s, a n d r e s e ar c h er s. Cli c k h er e t o c o nt a ct o ur e dit ori al st aff, a n d cli c k h er e t o r e p ort a n
     err or. Cli c k h er e t o c o nt a ct u s f or m e di a i n q uiri e s, a n d pl e a s e d o n at e h er e t o s u p p ort o ur c o nti n u e d
                                                                         e x p a n si o n.




htt ps:// b all ot p e di a. or g/ C a lif or ni a _ Pr o p ositi o n _ 2 0, _ Cri mi n al _ S e nt e n ci n g, _ P ar ol e, _ a n d _ D N... 7 /1 4 /2 0 2 0
C alif or ni a Pr o p ositi o n 2 0, Cri mi n al S e nt e n ci n g, P ar ol e, a n d D N A C oll e cti o n I niti ati v e ...                                                          P a g e 1 4 of 14

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    GET E N G A GE D                               2 0 2 0 E L E C TI O N S                       E L E C TI O N R E S O U R C E S                G OVE R N ME NT

    Fr o nt P aS gu eb s cri b e t o D o c u m eO vntier nvige Aw m eri c a' s P at h t o R eC coro ov nera vir
                                                                                                            y ut so fiel ne cti
                                                                                                                            d oo ut
                                                                                                                                 n a b o ut stU.atS.e s'Pr re esiod pe entni n g pl a n s
                                                                                             changes
    S a m pl e B all ot L o o k u p             U. S. Pr e si d e nt                                                                          U. S. C o n gr e s s
                                                                                             S a m pl e B all ot L o o k u p
    W h o R e pr e s e nt s M e ?               U. S. C o n gr e s s                                                                          U. S. S u pr e m e C o urt
                                                                                             El e cti o n C al e n d ar
    E m ail U p d at e s                        U. S. C o n gr e s s s p e ci al                                                              F e d er al C o urt s
                                                el e cti o n s                               El e cti o n R e s ult s
    B all ot p e di a E v e nt s                                                                                                              St at e E x e c uti v e s
                                                St at e E x e c uti v e s                    B all ot p e di a' s C a n di d at e
    D o n at e t o B all ot p e di a                                                                                                          St at e L e gi sl at ur e s
                                                                                             C o n n e cti o n
                                                St at e L e gi sl at ur e s
    Ot h er W a y s t o E n g a g e                                                                                                           St at e C o urt s
                                                                                             P oll O p e ni n g a n d Cl o si n g
                                                St at e J u d g e s
    J o b O p p ort u niti e s                                                               Ti m e s                                         St at e B all ot M e a s ur e s
                                                St at e B all ot M e a s ur e s
    R e p ort a n Err or                                                                     St at e V ot er I D L a w s                      L o c al B all ot M e a s ur e s
                                                L o c al B all ot M e a s ur e s
                                                                                             E arl y V oti n g                                M u ni ci p al G o v er n m e nt
                                                M u ni ci p al Offi ci al s
                                                                                             A b s e nt e e V oti n g                         S c h o ol B o ar d s
                                                M a y or s
                                                                                             O nli n e V ot er R e gi str ati o n             L o c al C o urt s
                                                S c h o ol B o ar d s
                                                                                             B all ot A c c e s s
                                                R e c all s



    P O LI TI C S                                  P U B LI C P O LI C Y                          A B O UT US

    Tr u m p A d mi n. P oli ci e s                R e s p o n s e s t o c or o n a vir u s       A b o ut B all ot p e di a
    Tr u m p A d mi n. C a bi n et                 O v er vi e w                                  I n d e x of C o nt e nt s
    A d mi ni str ati v e St at e                  B u d g et                                     S c o p e of B all ot p e di a
    S u pr e m e C o urt C a s e s                 C a m p ai g n Fi n a n c e                    Hi st or y of B all ot p e di a
    St at e Trif e ct a s                          Ci vil Li b erti e s                           C o nt a ct u s
    St at e Tri pl e x e s                         E d u c ati o n                                M e di a I n q uiri e s
    I nfl u e n c er s                             El e cti o n                                   A d v erti s e wit h B all ot p e di a
    R e di stri cti n g                            E n d a n g er e d S p e ci e s                B all ot p e di a St aff
    F a ct C h e c k s                             E n er g y                                     N e utr alit y P oli c y
    P olli n g I n d e x e s                       E n vir o n m e nt                             Pri v a c y P oli c y
                                                   Fi n a n c e                                   E dit ori al I n d e p e n d e n c e
                                                   H e alt h c ar e                               G e n er al Di s cl ai m er
                                                   I m mi gr ati o n                              A d P oli c y
                                                   P e n si o n
                                                   R e di stri cti n g
                                                   V oti n g




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                        E x hi bit D
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Data Analysis Unit
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                                                                                                            Department of Corrections and Rehabilitation
Estimates and Statistical Analysis Section                                                                                                                                                           State of California
Offender Information Services Branch                                                                                                                                                                   September 8, 2009


                                                                                    MONTHLY REPORT OF POPULATION
                                                                                   AS OF MIDNIGHT August 31, 2009

_____________________________________________________________________________________________________
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _T _O _T _A _L _ _C _D _C _R _ _P _O _P _U _L _A _T _I _O _N _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

                                                                                                                                              CHANGE SINCE
                                                                        FELON/                  CIVIL                                    _ _ _ _ _0 _8 _/ _3 _1 _/ _0 _8 _ _ _          DESIGN PERCENT STAFFED
                                                                    _O _T _H _E _R _ _# 1   _A _D _D _I _C _T   _ _T _O _T _A _L _       _ _ _N _O _. _          _ _P _C _T _. _    _C _A _P _A _C _I _T _Y _O C_ _C _U _P _I _E _D _C A_ _P _A _C _I _T _Y

A. TOTAL INSTITUTIONS                                               _1 _6 _5 _, _6 _3 _0       _ _ _8 _5 _3     _1 _6 _6 _, _4 _8 _3     _- _5 _, _4 _2 _7            _- _3 _. _1

  I.       IN-STATE                                                 157,798                          853        158,651                -13,259                        -7.7
             (MEN, Subtotal)                                        147,018                          623        147,641                 -7,867                        -5.0
             (WOMEN, Subtotal)                                       10,780                          230         11,010                   -551                        -4.7

       1. INSTITUTIONS/CAMPS                                        1_ _5 _2 _, _6 _1 _1       _ _ _8 _5 _0     1_ _5 _3 _, _4 _6 _1     -_ _7 _, _1 _1 _2            -_ _4 _. _4     8_ _4 _, _2 _7 _1        1_ _8 _2 _. _1         157,576
           INSTITUTIONS                                              148,324                        850          149,174                  -7,030                       -4.5            80,033                   186.4                 153,217
           CAMPS(CCC & SCC)*                                               4,287                                       4,287                       -82                 -1.8               4,238                 101.2                   4,359

       2. COMMUNITY CORR. CTRS.                                        _ _4 _, _9 _4 _4        _ _ _ _ _3          _ _4 _, _9 _4 _7      _- _1 _, _3 _3 _7         - _2 _1 _. _2      _ _5 _, _8 _4 _6         _ _8 _4 _. _6
           CCF PRIVATE                                                    2,589                                       2,589                     -317               -10.9                 2,752                    94.1
           CCF PUBLIC                                                     1,906                                       1,906                     -823               -30.1                 2,461                    77.4
           DRUG TREATMT FURLOUGH                                                262                        3                265                 -103               -27.9                       440                60.2

                PRISONER MOTHER PGM                                                64                                          64                  -8              -11.1                          70            91.4
                FAMILY FOUNDATION PGM                                              70                                          70                  -1               -1.4                          70           100.0
                WORK FUR. IN CUSTODY #2                                            53                                          53                 -14              -20.8                          53           100.0

       3. DMH STATE HOSPITALS                                                   243                                         243                   +31              +14.6

  II. OUT OF STATE(COCF)                                                  _7 _, _8 _3 _2       _ _ _ _ _0             _7 _, _8 _3 _2
       ARIZONA                                                             4,273                                       4,273
       MISSISSIPPI                                                         2,492                                       2,492
       OKLAHOMA                                                            1,067                                       1,067

B. PAROLE                                                           1_ _0 _9 _, _8 _0 _9       1_ _, _2 _6 _1   1_ _1 _1 _, _0 _7 _0   - _1 _3 _, _0 _3 _9         - _1 _0 _. _5
    COMMUNITY SUPERVISION                                            108,337                    1,261            109,598               -13,096                     -10.6
    COOPERATIVE CASES #3                                                   1,472                                       1,472                       +57                +4.0

C. NON-CDC JURISDICTION #4                                             _ _1 _, _6 _9 _3                 _ _0          _1 _, _6 _9 _3        _ _- _1 _1 _8           -_ _6 _. _5
    OTHER STATE/FED. INST.                                                      514                                          514                     +1              +0.1
    OUT OF STATE PAROLE                                                         941                                          941               -184                -16.3
    OUT OF STATE PAL                                                               62                                           62                   +3              +5.0
    CYA-W&IC 1731.5(c) #5
      INSTITUTIONS                                                              176                                         176                   +62              +54.3

D. OTHER POPULATIONS #6                                                _1 _8 _, _7 _5 _7          _ _1 _3 _3       _1 _8 _, _8 _9 _0     - _1 _, _1 _4 _5             _- _5 _. _7
    INMATES
      OUT-TO-COURT, etc.                                                2,909                           40          2,949                  +667                    +29.2
      ESCAPED                                                             208                                         208                   -17                     -7.5
    PAROLEES (PAL/RAL)                                                 15,640                           93         15,733                -1,795                    -10.2

TOTAL CDCR POPULATION                                               _2 _9 _5 _, _8 _8 _9       _2 _, _2 _4 _7   _2 _9 _8 _, _1 _3 _6   - _1 _4 _, _8 _8 _8            _- _4 _. _7

_____________________________________________________________________________________________________
CHANGE FROM LAST MONTH
     A. TOTAL INSTITUTIONS                                                       -1,570                          +8         -1,562
                        (MEN, Subtotal)                                          -1,524                          +5         -1,519
                        (WOMEN, Subtotal)                                                -22                     +3                 -19
     B. PAROLE                                                                              +8                -36                   -28
_ _ _D _. _ _ _P _A _R _O _L _E _E _S _ _( _P _A _L _/ _R _A _L _) _ _ _ _ _ _ _ _ _ _- _1 _1 _3 _ _ _ _ _ _ _+ _1 _1 _ _ _ _ _ _- _1 _0 _2 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

This report contains the latest available reliable population figures from OBIS.                                                                                                                          They have been
carefully audited, but are preliminary, and therefore subject to revision.

*Figure excludes institution based camps. Total persons in camps, including base camps, are 4,294.
Base camp at CMC is included in institution counts.

Report # TPOP-8.Questions: (916) 327-3262                                                            (CALNET) 467-3262.
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                                                                                             FELON/                      CIVIL                                              DESIGN                     PERCENT                       STAFFED
_I _N _S _T _I _T _U _T _I _O _N _S _/ _C _A _M _P _S _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _O _T _H _E _R _ _ _ _ _ _A _D _D _I _C _T _ _ _ _ _ _T _O _T _A _L _ _ _ _ _C _A _P _A _C _I _T _Y _ _ _ _O _C _C _U _P _I _E _D _ _ _ _C _A _P _A _C _I _T _Y _ _ _


MALE

ASP          (AVENAL SP)                                                                           6,340                                               6,340                     2,920                     217.1                             6,506
CCC          (CAL CORRECTL CTR)                                                                    5,528                                               5,528                     3,883                     142.4                             5,724
CCI          (CAL CORRECTL INSTITN)                                                                5,759                                               5,759                     2,783                     206.9                             5,732
CIM          (CAL INSTITN FOR MEN)                                                                 4,533                             24                4,557                     2,976                     153.1                             6,011

CMF          (CAL         MEDICAL FACIL)                                                           2,711                                               2,711                     2,297                     118.0                             2,875
CMC          (CAL         MEN'S COLONY)                                                            6,341                                               6,341                     3,838                     165.2                             6,458
CRC          (CAL         REHAB CTR, MEN)                                                          3,666                          552                  4,218                     2,491                     169.3                             4,408
CAL          (CAL         SP, CALIPATRIA)                                                          4,264                                               4,264                     2,308                     184.7                             4,218

CEN          (CAL         SP,       CENTINELA)                                                     4,500                                               4,500                     2,308                     195.0                             4,508
COR          (CAL         SP,       CORCORAN)                                                      5,340                               1               5,341                     3,116                     171.4                             5,352
LAC          (CAL         SP,       LOS ANGELES CO)                                                4,662                                               4,662                     2,400                     194.3                             4,790
SAC          (CAL         SP,       SACRAMENTO)                                                    2,847                               1               2,848                     1,828                     155.8                             2,979

SQ           (CAL SP, SAN QUENTIN)                                                                 5,233                               8               5,241                     3,082                     170.1                             5,274
SOL          (CAL SP, SOLANO)                                                                      4,941                                               4,941                     2,610                     189.3                             5,040
SATF         (CAL SATF AND SP - COR)                                                               6,868                               3               6,871                     3,424                     200.7                             7,009
CVSP         (CHUCKAWALLA VALLEY SP)                                                               3,378                                               3,378                     1,738                     194.4                             3,593

CTF          (CORRL TRAING FAC)                                                                    5,515                                               5,515                     3,312                     166.5                             6,127
DVI          (DEUEL VOCATL INSTITN)                                                                3,895                               6               3,901                     1,681                     232.1                             3,811
FOL          (FOLSOM SP)                                                                           4,144                                               4,144                     2,469                     167.8                             4,078
HDP          (HIGH DESERT SP)                                                                      4,453                             13                4,466                     2,324                     192.2                             4,486

IRON         (IRONWOOD SP)                                                                         4,044                                               4,044                     2,200                     183.8                             4,205
KVSP         (KERN VALLEY SP)                                                                      4,691                                               4,691                     2,448                     191.6                             4,825
MCSP         (MULE CREEK SP)                                                                       3,733                                               3,733                     1,700                     219.6                             3,812
NKSP         (NORTH KERN SP)                                                                       5,449                               3               5,452                     2,694                     202.4                             5,354

PBSP         (PELICAN BAY SP)                                                                      3,211                                               3,211                     2,380                     134.9                             3,407
PVSP         (PLEASANT VALLEY SP)                                                                  4,945                                               4,945                     2,308                     214.3                             4,922
RIO          (RIO COSUMNES COR CTR-RC)                                                               466                                                 466                         0                         -                               400
RJD          (RJ DONOVAN CORR FACIL)                                                               4,755                                               4,755                     2,200                     216.1                             4,814

SVSP         (SALINAS VAL SP)                                                                      3,736                                               3,736                     2,388                     156.4                             3,981
SRTA         (SANTA RITA CO. JAIL-RC)                                                                832                                                 832                         0                         -                               750
SCC          (SIERRA CONSERV CTR)                                                                  5,637                              1                5,638                     3,736                     150.9                             5,621
WSP          (WASCO SP)                                                                            5,988                             11                5,999                     2,984                     201.0                             5,848


____________________________________________________________________________________________________
MALE TOTAL:                         142,405       623   143,028    78,826     181.4      146,918
____________________________________________________________________________________________________

FEMALE

CIW          (CAL INST FOR WOMEN)                                                                  2,393                          205                  2,598                     1,386                     187.4                             2,715
CCWF         (CENT CAL WOMEN'S FACIL)                                                              3,911                            4                  3,915                     2,004                     195.4                             3,966
FRCC         (FRCCC BAKERSFIELD)                                                                      77                                                  77                        75                     102.7                                75
RIO          (RIO COSUMNES COR CTR-RC)                                                                14                                                  14                         0                         -                                 0
VSP          (VALLEY SP)                                                                           3,811                             18                3,829                     1,980                     193.4                             3,902

____________________________________________________________________________________________________
FEMALE TOTAL:                        10,206       227    10,433     5,445     191.6       10,658
____________________________________________________________________________________________________


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INSTITUTIONS/CAMPS TOTAL:           152,611       850   153,461    84,271     182.1      157,576
____________________________________________________________________________________________________
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                                                       Department of Corrections and Rehabilitation
Estimates and Statistical Analysis Section                                        State of California
Offender Information Services Branch                                                September 8, 2009


                                     MONTHLY REPORT OF POPULATION
                                                NOTES
                                    AS OF MIDNIGHT August 31, 2009


            #1   Felon/Other counts are safekeepers, federal cases and inmates from
                 other states, felons, county diagnostic cases and Youth Authority
                 wards.

            #2   Work Furlough in Custody are inmates in Work Furlough programs who
                 are out-to-court, in jail, in hospitals, or escapees who have been
                 taken into custody and are in jail.

            #3   Cooperative Cases are parolees from other states being supervised in
                 California.

            #4   Non-CDC Jurisdiction are California cases being confined in or paroled
                 to other states or jurisdictions.

            #5   Welfare and Institution Code (W&IC) 1731.5(c) covers persons under the
                 the age of 21 who were committed to CDCR, had
                 their sentence amended, and were incarcerated at the California
                 Youth Authority for housing and program participation.

            #6   Other Population includes inmates temporarily out-to-court, inmates in
                 hospitals, escapees, and parole and outpatient absconders.
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                        E x hi bit E
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                                         Felon/   Change Since Change Since Design    Percent Staffed
Population                                Other    Last Month    Last Year  Capacity Occupied Capacity
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                                                 Felon/         Design     Percent    Staffed
Institutions                                      Other        Capacity   Occupied   Capacity




Male Total                                       112,542        85,858       131.1    118,500




Female Total                                          4,802      3,805       126.2        5,395



Institution Total                                117,344        89,663       130.9    123,895
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                        E x hi bit F
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                                         Felon/   Change Since Change Since Design    Percent Staffed
Population                                Other     Last Week    Last Year  Capacity Occupied Capacity
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                                                 Felon/         Design     Percent    Staffed
Institutions                                      Other        Capacity   Occupied   Capacity




Male Total                                       103,420        85,858       120.5    120,396




Female Total                                          4,171      3,805       109.6        5,395



Institution Total                                107,591        89,663       120.0    125,791
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                        E x hi bit G
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  O C T O B E R   1 6,     2 0 1 9




  Pl a n ni n g f or a D e cli ni n g
  I n m at e P o p ul ati o n
  P R E S E N T E D      T O:        A s s e m bl y B u d g et S u b c o m mitt e e N o. 5 o n P u bli c S af et y
                                         H o n. S hirl e y N. W e b er, C h air




                                                          L E GI S L A TI V E     A N A L Y S T’ S     O F FI C E
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Gr a p hi c Si g n Off
S e cr et ar y
A n al y st
M PA
D e p ut y
          St at e I n m at e H aPn doo put ul
                                           _ T eati
                                                 m pl oat ne. aitPrA oj
                                                                      R T e W ct
                                                                               O ReK d# 1t 9 o0 6 1D4 e cli n e




                            A s of J u n e 3 0 E a c h Y e ar

                                1 2 8, 0 0 0


                                1 2 6, 0 0 0


                                1 2 4, 0 0 0


                                1 2 2, 0 0 0


                                1 2 0, 0 0 0


                                1 1 8, 0 0 0


                                1 1 6, 0 0 0


                                1 1 4, 0 0 0
                                                 2019                2020   2021           2022           2023
                                               ( A ct u al)




                     T h e st at e’ s i n m at e p o p ul ati o n i s pr oj e ct e d t o d e cli n e b y
                      6, 8 0 0 i n m at e s o v er t h e n e xt f e w y e ar s —fr o m a b o ut 1 2 5, 1 0 0 i n m at e s
                      a s of O ct o b er 9, 2 0 1 9 t o 1 1 8, 3 0 0 a s of J u n e 3 0, 2 0 2 3. W e n ot e,
                      h o w e v er, t h at t h er e i s c o n si d er a bl e u n c ert ai nt y r e g ar di n g t h e s p e ci ﬁ c
                      m a g nit u d e.
                     T h e d e cli n e i s pri m aril y d u e t o Pr o p o siti o n 5 7 ( 2 0 1 6), w hi c h m a d e
                      c ert ai n n o n vi ol e nt off e n d er s eli gi bl e f or p ar ol e c o n si d er ati o n
                      a n d e x p a n d e d t h e C alif or ni a D e p art m e nt of C orr e cti o n a n d
                      R e h a bilit ati o n’ s ( C D C R’ s) a ut h orit y t o r e d u c e pri s o n t er m s t hr o u g h
                      cr e dit s.
                     T h e a b o v e p o p ul ati o n pr oj e cti o n s r e ﬂ e ct a dj u st m e nt s t h at w e m a d e
                      t o t h e a d mi ni str ati o n’ s m o st r e c e nt i n m at e p o p ul ati o n pr oj e cti o n s t o
                      a c c o u nt f or t h e l a st ni n e m o nt h s of a ct u al d at a a n d t h e e sti m at e d
                      eff e ct s of c ert ai n s e nt e n ci n g c h a n g e s. O n e s u c h c h a n g e i s
                      C h a pt er 5 9 0 of 2 0 1 9 ( S B 1 3 6, Wi e n er), w hi c h eli mi n at e s a o n e y e ar
                      s e nt e n c e e n h a n c e m e nt f or pri or off e n s e s i n c ert ai n c a s e s.


          L E GI S L A TI V E     A N A L Y S T’ S      O F FI C E                                               1
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    C o urt- Or d er e d Pri s o n P o p ul ati o n C a p


    St at e R e q uir e d t o Li mit Pri s o n O v er cr o w di n g
               T h e st at e i s u n d er a f e d er al c o urt or d er t o li mit t h e p o p ul ati o n of it s
                3 4 st at e- o w n e d pri s o n s t o a b o ut 1 1 7, 0 0 0 i n m at e s, b a s e d o n t h eir
                c urr e nt c a p a cit y.
               T o e n s ur e t h e st at e d o e s n ot e x c e e d t hi s c a p, C D C R k e e p s t h e
                p o p ul ati o n i n t h e st at e- o w n e d pri s o n s b el o w t h e c a p b y a c o u pl e
                t h o u s a n d i n m at e s t o “ b uff er ” a g ai n st u n e x p e ct e d i n cr e a s e s i n t h e
                p o p ul ati o n.

    I n m at e s H o u s e d O ut si d e of St at e - O p er at e d Pri s o n s t o A v oi d
    E x c e e di n g P o p ul ati o n C a p
               C D C R i s a bl e t o m ai nt ai n c o m pli a n c e wit h t h e c o urt or d er b y h o u si n g
                i n m at e s o ut si d e of t h e 3 4 st at e- o w n e d pri s o n s.
               A s of O ct o b er 9, 2 0 1 9, C D C R h o u s e d a b o ut:
                —     1, 4 0 0 m al e i n m at e s a n d 2 7 0 f e m al e i n m at e s i n pri v at el y o p er at e d
                      c o ntr a ct pri s o n s.
                —     1, 7 0 0 m al e i n m at e s i n p u bli cl y o p er at e d c o ntr a ct pri s o n s.
                —     6, 7 0 0 i n m at e s i n v ari o u s ot h er pl a c e m e nt s, s u c h a s st at e
                      c o n s er v ati o n c a m p s.




    L E GI S L A TI V E   A N A L Y S T’ S   O F FI C E                                                    2
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    A c c o m m o d ati n g t h e Pr oj e ct e d D e cli n e i n t h e
    I n m at e P o p ul ati o n


    C D C R R e q uir e d t o C o n si d er V ari o u s Crit eri a i n A c c o m m o d ati n g
    P o p ul ati o n D e cli n e s
               A s t h e i n m at e p o p ul ati o n d e cli n e s, e xi sti n g st at e l a w r e q uir e s C D C R
                t o ﬁr st r e m o v e all m al e i n m at e s h o u s e d i n pri v at el y o p er at e d pri s o n s.
               St at e l a w t h e n a ut h ori z e s C D C R t o d et er mi n e h o w t o a c c o m m o d at e
                f urt h er p o p ul ati o n d e cli n e s i n t h e p o p ul ati o n, b ut s p e ci ﬁ e s t h e
                v ari o u s crit eri a t h at t h e d e p art m e nt m u st u s e ( s u c h a s c o st a n d
                g e n d er- s p e ci ﬁ c h o u si n g n e e d s).

    Cl o si n g St at e - O p er at e d Pri s o n s W o ul d Li k el y All o w f or Gr e at e st
    S a vi n g s
               Aft er r e m o vi n g m al e i n m at e s fr o m pri v at el y o p er at e d pri s o n s, w e
                pr oj e ct t h at t h e st at e w o ul d n e e d t o a c c o m m o d at e a r e m ai ni n g
                r e d u cti o n of 5, 5 0 0 i n m at e s b y J u n e 2 0 2 3
               T hi s d e cli n e c o ul d b e a c c o m m o d at e d i n v ari o u s w a y s. T h e t hr e e m ai n
                w a y s ar e:
                —     Cl o si n g St at e - O p er at e d Pri s o n s. T h e st at e c o ul d cl o s e b ot h a
                      s m all- a n d m e di u m- si z e d pri s o n yi el di n g t ot al o p er ati o n al s a vi n g s
                      of ar o u n d a f e w h u n dr e d milli o n d oll ar s a n n u all y. I n a d diti o n,
                      t hi s c o ul d al s o eli mi n at e t h e n e e d f or c o stl y i nfr a str u ct ur e
                      i m pr o v e m e nt s t h at w o ul d ot h er wi s e h a v e b e e n m a d e t o t h e s e
                      pri s o n s.
                —     Eli mi n ati n g R e m ai ni n g C o ntr a ct Pri s o n B e d s. T h e st at e c o ul d
                      r e m o v e t h e n e arl y 2, 0 0 0 r e m ai ni n g i n m at e s fr o m c o ntr a ct pri s o n
                      b e d s ( 2 7 0 pri v at el y o p er at e d f e m al e b e d s a n d 1, 7 0 0 p u bli cl y
                      o p er at e d m al e b e d s). W e n ot e t h at, gi v e n t h e si z e of t h e
                      p o p ul ati o n d e cli n e, t h e st at e c o ul d eli mi n at e all s u c h b e d s, a s w ell
                      a s cl o s e a m e di u m- si z e d pri s o n. W e e sti m at e t h at s u c h a cti o n s
                      c o ul d yi el d t ot al o p er ati o n al s a vi n g s of a c o u pl e h u n dr e d milli o n
                      d oll ar s a n n u all y.
                —     All o wi n g P o p ul ati o n of St at e - O p er at e d Pri s o n s t o D e cli n e
                      Wit h o ut Cl o s ur e s. W e e sti m at e t h at t hi s a p pr o a c h c o ul d yi el d
                      t ot al o p er ati o n al s a vi n g s i n t h e s e v er al t e n s of milli o n s of d oll ar s
                      a n n u all y.

    L E GI S L A TI V E   A N A L Y S T’ S   O F FI C E                                                 3
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    O pti o n s t o A c c el er at e Eli mi n ati o n of
    C o nt r a ct s a n d/ or Pri s o n Cl o s ur e

               T o t h e e xt e nt t h at t h e st at e i s i nt er e st e d i n cl o si n g st at e- o p er at e d
                pri s o n s or eli mi n ati n g c o ntr a ct pri s o n b e d s, it c o ul d t a k e st e p s t o
                a c c el er at e t h e ti mi n g of s u c h a cti o n s. B el o w, w e di s c u s s s o m e of t h e
                o pti o n s a v ail a bl e t o a c hi e v e t hi s. T h e i m p a ct s of t h e s e o pti o n s m a y
                v ar y si g ni ﬁ c a ntl y i n t h eir m a g nit u d e a n d ti mi n g a n d c o ul d b e s u bj e ct
                t o i m pl e m e nt ati o n c h all e n g e s.

    M a k e F urt h er R e d u cti o n s t o t h e O v er all I n m at e P o p ul ati o n
               R e q uir e t h e B o ar d of P ar ol e H e ari n g s t o i niti at e r el e a s e c o n si d er ati o n
                f or c ert ai n n o n vi ol e nt off e n d er s 6 0 d a y s e arli er t h a n t h e y d o n o w t o
                e x p e dit e r el e a s e s, a s w e h a v e pr e vi o u sl y r e c o m m e n d e d.
               E x p a n d a c c e s s t o mi ni m u m c u st o d y pl a c e m e nt s, all o wi n g s o m e
                i n m at e s t o e ar n m or e cr e dit s, s u c h a s b y a d mitti n g i n m at e s wit h
                mi n or f el o n y d et ai n er s, a s w e h a v e pr e vi o u sl y r e c o m m e n d e d.
               E n a ct s e nt e n ci n g c h a n g e s, s u c h a s e x p a n di n g eli gi bilit y f or t h e y o ut h
                off e n d er or el d erl y p ar ol e pr o c e s s e s. F or e x a m pl e, el d erl y i n m at e s ar e
                g e n er all y c o n si d er e d f or r el e a s e if t h e y h a v e s er v e d m or e t h a n
                2 5 y e ar s i n pri s o n a n d r e a c h 6 0 y e ar s ol d. R e d u ci n g t h e ti m e s er v e d
                or a g e eli gi bilit y r e q uir e m e nt s c o ul d i n cr e a s e r el e a s e s.
               I n cr e a s e cr e dit e ar ni n g r at e s a n d r e c o m m e n d i n m at e s t o t h e c o urt s
                f or r e s e nt e n ci n g.

    I n cr e a s e t h e N u m b er of I n m at e s i n Pl a c e m e nt s N ot S u bj e ct t o
    t h e P o p ul ati o n Li mit
               I n cr e a s e t h e c o n s er v ati o n c a m p p o p ul ati o n b y e x p a n di n g i n m at e
                eli gi bilit y ( s u c h a s b y all o wi n g i n m at e s wit h mi n or f el o n y d et ai n er s
                i nt o c a m p s) or pr o vi di n g gr e at er p arti ci p ati o n i n c e nti v e s ( s u c h a s
                b ett er p a y), a s w e h a v e pr e vi o u sl y r e c o m m e n d e d.
               All o w m or e i n m at e s t o s er v e t h e l a st p orti o n of t h eir s e nt e n c e o ut si d e
                of pri s o n t hr o u g h t h e Alt er n ati v e C u st o d y Pr o gr a m, s u c h a s b y
                a d mitti n g i n m at e s wit h m or e t h a n 1 2 m o nt h s l eft t o s er v e.




    L E GI S L A TI V E   A N A L Y S T’ S   O F FI C E                                                 4
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    O pti o n s t o A c c el er at e Eli mi n ati o n of
    C o nt r a ct s a n d/ or Pri s o n Cl o s ur e
    ( C o nti n u e d)

    O p er at e 3 4 Pri s o n s Wit h a S m all er B uff er
               C D C R c o ul d h o u s e m or e i n m at e s i n st at e- o w n e d pri s o n s b y r e d u ci n g
                t h e r o u g hl y 2, 0 0 0 i n m at e b uff er a g ai n st t h e c a p. F or e x a m pl e, C D C R
                c o ul d s hift 5 0 0 i n m at e s fr o m c o ntr a ct b e d s t o st at e- o w n e d pri s o n s
                wit h o ut e x c e e di n g t h e c a p. H o w e v er, t h e st at e m a y w a nt t o t a k e
                a d diti o n al a cti o n s t o miti g at e t h e i n cr e a s e d ri s k of vi ol ati n g t h e c o urt
                or d er.




    L E GI S L A TI V E   A N A L Y S T’ S   O F FI C E                                                 5
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                        E x hi bit H
                 Case 2:90-cv-00520-KJM-SCR                                               Document 6768
S T A T E O F C A LI F O R NI A- D E P A R T M E N T O F C O R R E C TI O N S A N D R E H A BI LI T A TI O N
                                                                                                                            Filed 07/15/20A R N O LPage      46 of 53
                                                                                                                                                   D S C H W A R Z E N E G G E R, G O V E R N O R

DI VI SI O N O F C O R R E C TI O N A L H E A L T H C A R E S E R VI C E S
M E NT AL H E ALT H P R O G R A M
P. O. B o x 9 4 2 8 8 3
S a cr a m e nt o, C A 9 4 2 8 3- 0 0 0 1




          S e pt e m b er 3 0, 2 0 0 9

                                                                                                               Vi a:   D e b bi e V or o u s, Es q.
          M att h e w A. L o p e s, Jr., Es q.                                                                         J eff St e el e, Es q.
          Offi c e of t h e S p e ci al M a st er                                                                      D e p ut y Att or n e y G e n er al
          P a n n o n e L o p e s & D e v er e a u x L L C                                                             D e p art m e nt of J u sti c e
          3 1 7 Ir o n H or s e W a y, S uit e 3 0 1                                                                   1 3 0 0 "I" Str e et, S uit e 1 2 5
          Pr o vi d e n c e, RI 0 2 9 0 8                                                                              P. O. B o x 9 4 4 2 5 5
                                                                                                                       S a cr a m e nt o, C A 9 4 2 4 4- 2 5 5 0

          R E: C O L E M A N M O N T H L Y R E P O R T O F I N F O R M A TI O N R E Q U E S T E D A N D
          R E S P O N S E T O J A N U A R Y 1 9, 1 9 9 9, C O U R T O R D E R R E G A R DI N G S T A F F V A C A N CI E S

          D e ar Mr. L o p e s:

          E n cl o s e d is t h e C ol e m a n M o nt hl y R e p ort r efl e cti v e of A u g u st 2 0 0 9 d at a ( or as ot h er wi s e n ot e d).
          T h e f oll o wi n g is t h e li st of e n cl o s ur e s:

                      1.  M e nt al H e alt h S er vi c e s D eli v er y S y st e m ( M H S D S) St affi n g All o c ati o n a n d V a c a n c y
                          Hi st or y. ( P e n di n g - t o b e p o st e d n e xt w e e k)
                     2. M H S D S Hiri n g A cti vit y R e p ort. ( P e n di n g - t o b e p o st e d n e xt w e e k)
                     3. H e alt h C ar e Pl a c e m e nt O v er si g ht Pr o gr a m ( H C P O P) I nf or m ati o n R e p ort, S u m m ar y a n d
                          A d mi ni str ati v e S e gr e g ati o n Gr e at er t h a n 6 0 D a y s.
                     4. M e nt al H e alt h C o ntr a ct S er vi c e s i n cl u di n g S u m m ar y a n d T el e m e di ci n e M o nt hl y R e p ort f or
                          all di s ci pli n e s.
                     5. C alif or ni a D e p art m e nt of C orr e cti o n s a n d R e h a bilit ati o n ( C D C R) R e c e pti o n C e nt er ( R C)
                          M o nt hl y R e p ort.
                     6. M o nt hl y S u m m ar y of M e nt al H e alt h Cri si s B e d u s e b y I n stit uti o n Titl e s I n p ati e nt
                          P s y c hi atri c A gi n g R e p ort.
                     7. R ef err al s f or Tr a n sf er t o t h e D e p art m e nt of M e nt al H e alt h (i n cl u di n g a d mi s si o n s).
                     8. At a s c a d er o St at e H o s pit al ( A S H) Di s c h ar g e s.
                     9. W e e kl y E n h a n c e d O ut p ati e nt Pr o gr a m ( E O P)/ O ut p ati e nt P s y c hi atri c Pr o gr a m.
                     1 0. T h e D M H M o nt hl y R e p ort of C D C R P ati e nt s i n D M H H o s pit al s-- S u m m ar y a n d P e n al
                          C o d e 2 6 8 4.
                     1 1. S ui ci d e R e p ort.
                     1 2. St ati sti c s o n C o ntr a ct e d R e gi st er e d N ur s e ( R N). ( N o L o n g er A v ail a bl e)
                     1 3. R C Pr o c e s si n g f or M H S D S I n m at e P ati e nt s.
                     1 4. M e di c al T e c h ni c al A s si st a nt ( M T A) V a c a n c y R e p ort.
                     1 5. All o c at e d C a s e M a n a g er P o siti o n s a n d V a c a n ci e s f or t h e E O P A d mi ni str ati v e S e gr e g at e d
                          H u b i n stit uti o n s.
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  M att h e w A. L o p es, Jr., Es q.
  Pa ge 2


  1 6. E O P I n m at e s W aiti n g Tr a n sf er t o a P s y c hi atri c S er vi c es U nit ( P S U).
  1 7. A u dit r e p ort s o n P s y c hi atri c T e c h ni ci a n R o u n d s i n A d mi ni str ati v e S e gr e g ati o n at
       C alif or ni a St at e Pri s o n- S a n Q u e nti n ( S Q), C alif or ni a St at e Pri s o n- C or c or a n ( C O R), a n d
       S ali n a s V all e y St at e Pri s o n ( S V S P
  1 8. M e nt al H e alt h Cri si s B e d s W ait List.
  1 9. C orr e cti o n al Tr e at m e nt C e nt er s a n d C D C R G e n er al A c ut e C ar e H o s pit al C ar e Pl a c e m e nt
       Iss u es. ( N o l o n g e r a v ail a bl e)
  2 0. Tr a n sf err e d a n d R e s ci n d e d M e nt al H e alt h Cri si s B e d R ef err al s b y I n stit uti o n a n d L e v el of
       C ar e.

  If y o u h a v e a n y q u e sti o n s, pl e a s e c o nt a ct m e at ( 9 1 6) 3 2 4- 2 9 3 3.




                BE AT Y
  D e p ut y Dir e ct or, Pr o gr a m S er vi c es
  M e nt al H e alt h Pr o gr a m
, Di vi si o n of C orr e cti o n al H e alt h C ar e S er vi c e s

  E n cl o s ur e s

  c c: S h ar o n A u n g st, C hi ef D e p ut y S e cr et ar y, C orr e cti o n al H e alt h C ar e S er vi c e s
       M ari o n C hi ur a z zi, P s y. D, D e p ut y Dir e ct or, Cli ni c al S er vi c es, St at e wi d e M e nt al H e alt h
                 Pr o gr a m, D C H C S
       M o h a m e d u F., J o n es, Es q., C ol e m a n D e p ut y S p e ci al M a st er
       Li n d a B uff ar di, Es q., C ol e m a n D e p ut y S p e ci al M a st er
       J effr e y L. M et z n er, M. D., C ol e m a n E x p ert
       D e n ni s F. K o s o n, M. D., C ol e m a n E x p ert
       K err y C. H u g h e s, M. D., C ol e m a n E x p ert
       M eli s s a G. W arr e n, P h. D., C ol e m a n E x p ert
       R a y m o n d F. P att er s o n, M. D, C ol e m a n E x p ert
       P al Ni c oll, M P A, C ol e m a n M o nit or
       T e d R u g gl e s, P h. D., C ol e m a n E x p ert
       M ar y P erri e n, P h. D., C ol e m a n E x p ert
       M ar y- J o y S p e n c er, Es q., C ol e m a n M o nit or
       Y o n g J o o Er wi n, L C S W, C ol e m a n E x p ert
       K at hr y n A. B ur n s, M. D., M P H, C ol e m a n E x p ert
       H e nr y A. Dl u g a c z, Es q., C ol e m a n E x p ert
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    Pa ge 3

    K err y F. W al s h, Es q., C ol e m a n M o nit or
    A n g el a S h a n n o n, M. D., C ol e m a n E x p ert
    P atri ci a Willi a m s, Es q., C ol e m a n M o nit or
    H a u n a ni H e nr y, C ol e m a n M o nit or
    J. R o n al d M et z, C ol e m a n M o nit or
    Willi a m Al v ar e z, P h. D., C ol e m a n M o nit or
    J eff St e el e, E s q., Offi c e of t h e Att or n e y G e n er al
    D e b bi e V or o u s, Es q., Offi c e of t h e Att or n e y G e n er al
    Mi c h a el St o n e, Es q., Offi c e of L e g al Aff air s
    Mi c h a el Bi e n, Es q., R o s e n, Bi e n a n d G al v a n
    D o n al d S p e ct er, Es q., Pri s o n L a w Offi c e
    K ar e n Hi g gi n s, M. D., D e p ut y Dir e ct or ( A), P s y c hi atr y S er vi c es, D C H C S
    J u d y B url e s o n, C ol e m a n C o m pli a n c e M a n a g er, D C H C S
    M ar y N e a d e, C orr e cti o n al C o u n s el or II, Di vi si o n of A d ult I n stit uti o n s
    S h ar o n Ri e g el, H P S II, D C H C S
                                                       Case 2:90-cv-00520-KJM-SCR                                       Document 6768                              Filed 07/15/20                   Page 49 of 53
                                                            M e nt al H e alt h P o p ul ati o n - Pl a c e m e nt P e r I nstit uti o n
                                                                                                        Gr o u p e d b y: A d- S e g, G P, R C, a n d S H U
                                                                                                             D D P S D o w nl o a d D at e: A u g u st 2 8, 2 0 0 9                                     C O N FI D E N TI A L
                                                                                                                        S U M M A R Y
                                                                                 M e nt al H e alt h P o p ul ati o n - C o m bi n e d Pl a c e m e nt P e r I nstit uti o n
                                                                                       C C C MS                                 E OP                         M H CB
                                                                                                                                                                                              T ot al
                                                                                         C u r r e nt      % of                         C u r r e nt      % of
                                                                                                                                                                                            M H Po p
                                                       I nstit uti o n   C a p a cit y       Po p       C a p a cit y   C a p a cit y       Po p       C a p a cit y   C a p a cit y

                                                          ASP                 1099          1371           125 %                                 16                                           1387
                                                          C AL                                33                                                  1                                             34
                                                          C C C                                1                                                                                                 1
                                                          C CI                1349          1184            88 %                                 58                                           1242
                                                          C C WF               899          1184           132 %                  54             55        102 %                       12     1239
                                                          CE N                                27                                                                                                27
                                                          CI M                 999          1085           109 %                               189                                     34     1274
                                                          CI W                 499           688           138 %                 85            109         128 %                       10      797
                                                          C M C               1099          1210           110 %                634            539          85 %                       36     1749
                                                          C MF                 599           620           104 %                591            544          92 %                       70     1164
                                                          C O R                949          1235           130 %                204            202          99 %                       23     1437
                                                          C R C- M             848          1042           123 %                                                                              1042
                                                          CTF                  745           952           128 %                               8                                               960
                                                          C VSP                               16                                               2                                                18
                                                          D VI                  649          642            99 %                              55                                               697
                                                          F OL                  599          751           125 %                               3                                               754
                                                          H DSP                 699          909           130 %                              17                                       10      926
                                                          ISP                                 20                                               2                                                22
                                                          K VSP             1000            1221          122 %                  96          110           115 %                       12     1331
                                                          L A C             1149            1184          103 %                 354          411           116 %                       12     1595
                                                          M CSP             1149            1340          117 %                 546          525            96 %                        8     1865
                                                          N KSP              799             928          116 %                               73                                       10     1001
                                                          P BSP              349             347           99 %                   66          73           111 %                       10      420
                                                          P VSP             1499            1734          116 %                                6                                        6     1740
                                                          RJ D              1199            1354          113 %                 393          414           105 %                       14     1768
                                                          S A C              849             827           97 %                 458          442            97 %                       24     1269
                                                          S ATF             1199            1531          128 %                               15                                       20     1546
                                                          S C C              499             611          122 %                               16                                               627
                                                          S OL              1199            1490          124 %                                6                                        9     1496
                                                          S Q                899            1155          128 %                  36          124           344 %                              1279
                                                          S VSP              999            1099          110 %                 237          241           102 %                       10     1340
                                                          VSP W              849            1103          130 %                   9           24           267 %                              1127
                                                          WSP               1049            1180          112 %                              110                                   6          1290
                                                          T OT AL          25718           30074          117 %             3763            4390           117 %                 336         34464
H e alt h C ar e Pl a c e m e nt O v er si g ht Pr o gr a m                                                                                                                                                         Pri nt e d D at e: 8/ 2 8/ 2 0 0 9 7: 4 5: 5 2 A M
Di vi si o n of C orr e cti o n al H e alt h C ar e S er vi c e s                                                                                                                                                                     R 1 R e v. 1 - P a g e 1 of 5
                                                       Case 2:90-cv-00520-KJM-SCR                                           Document 6768                          Filed 07/15/20                  Page 50 of 53
Gro u p                                                                      C C C MS                                           E O P ( 2)                     M H CB
                                                                             C u r r e nt      % of                         C u r r e nt          % of                           T ot al
  I nstit uti o n ( 1)                                       C a p a cit y       Po p       C a p a cit y   C a p a cit y       Po p           C a p a cit y   C a p a cit y
                                                                                                                                                                                                                                C o m m e nts
                                                                                                                                                                               M H Po p

A d mi nist r ati v e S e g r e g ati o n U nit ( A d- S e g, A S U)
  A S P A d- S e g                                                 38                                                                      1                                          39
  C A L A d- S e g                                                   5                                                                                                                 5
  C CI A d- S e g                                                  86                                                                 10                                              96
  C C W F A d- S e g                                               20                                                                      3                                          23
  C E N A d- S e g                                                   6                                                                                                                 6
  CI W A d- S e g                                                  14                                                10                    7          70 %                            21    A S U- E O P H u b

  C M C A d- S e g                                                 46                                                54               49              91 %                            95    A S U- E O P H u b

  C M F A d- S e g                                                 15                                                58               48              83 %                            63    A S U- E O P H u b ( c urr e ntl y a c c o m m o d at e s o w n p o p ul ati o n)

  C O R A d- S e g                                                 87                                                54               54            100 %                           141     A S U- E O P H u b

  C T F A d- S e g                                                 39                                                                                                                 39
  D VI A d- S e g                                                  46                                                                 14                                              60
  F O L A d- S e g                                                 44                                                                      1                                          45
  H D S P A d- S e g                                               96                                                                      8                                        104
  I S P A d- S e g                                                   4                                                                                                                 4
  K V S P A d- S e g                                               88                                                                      5                                          93
  L A C A d- S e g                                               179                                                 54               63            117 %                           242     A S U- E O P H u b

  M C S P A d- S e g                                               59                                                36               26              72 %                            85    A S U- E O P H u b

  P B S P A d- S e g                                               55                                                                                                                 55
  P V S P A d- S e g                                             136                                                                       2                                        138
  R J D A d- S e g                                                 91                                                63               51              81 %                          142     A S U- E O P H u b

  S A C A d- S e g                                                 70                                                74               62              84 %                          132     A S U- E O P H u b

  S A T F A d- S e g                                               95                                                                      6                                        101
  S C C A d- S e g                                                 33                                                                      4                                          37
  S O L A d- S e g                                                 63                                                                                                                 63
  S Q A d- S e g                                                   62                                                36               18              50 %                            80    A S U- E O P H u b ( c urr e ntl y a c c o m m o d at e s o w n p o p ul ati o n)

  S V S P A d- S e g                                             180                                                 45               58            129 %                           238     A S U- E O P H u b

  V S P W A d- S e g                                               27                                                  9                   4          44 %                            31    A S U- E O P H u b

  W S P A d- S e g                                                 32                                                                 20                                              52
     G r o u p T ot al f o r A d- S e g                       1, 7 1 6                                            493               514          104 %                           2, 2 3 0




H e alt h C ar e Pl a c e m e nt O v er si g ht Pr o gr a m                                                                                                                                                                        Pri nt e d D at e: 8/ 2 8/ 2 0 0 9 7: 4 5: 5 2 A M
Di vi si o n of C orr e cti o n al H e alt h C ar e S er vi c e s                                                                                                                                                                                    R 1 R e v. 1 - P a g e 2 of 5
                                                       Case 2:90-cv-00520-KJM-SCR                                                 Document 6768                          Filed 07/15/20                      Page 51 of 53
Gro u p                                                                        C C C MS                                               E O P ( 2)                     M H CB
                                                                               C u r r e nt          % of                         C u r r e nt          % of                               T ot al
  I nstit uti o n ( 1)                                       C a p a cit y         Po p           C a p a cit y   C a p a cit y       Po p           C a p a cit y   C a p a cit y
                                                                                                                                                                                                                                         C o m m e nts
                                                                                                                                                                                         M H Po p

G e n e r al P o p ul ati o n ( G P)
  ASP                                 II                            1, 0 9 9      1, 3 3 3             121 %                                15                                             1, 3 4 8
  C AL                              I,I  V             +                                28                                                       1                                              29
  C C C                           I,II,III                                                    1                                                                                                  1
  C CI                          I,II,III,I V            *           1, 0 5 3          750                 71 %                              11                                                761
  C C WF                                                              745             994              133 %               54               52              96 %                 12        1, 0 4 6
  CE N                               III                                                21                                                                                                      21
  CI M                                 I                              366             478              131 %                                26                                   34           504
  CI W                                                                367             523              143 %               75             102             136 %                  10           625
  C M C                           I,II,III                          1, 0 9 9      1, 1 6 4             106 %            580               490               84 %                 36        1, 6 5 4   C o urt or d er e d t e m p or ar y M H C B c a p of 3 6, b e gi n ni n g 8/ 2/ 0 6.

  C MF                             I,II,III                           599             605              101 %            533               496               93 %                 70        1, 1 0 1    2 0 of t h e M H C B s ar e t e m p or ar y (li c e n s e d a s a c ut e).

  C O R                          I,III,I V + *                        499             702              141 %            150               147               98 %                 23           849
  C R C- M                            II                              848         1, 0 4 2             123 %                                                                               1, 0 4 2
  CTF                                I,II                             745             913              123 %                                     8                                            921
  C VSP                               I,II                                              16                                                       2                                              18
  D VI                               I,II                               85              79                93 %                                   6                                              85
  F OL                               III                              599             707              118 %                                     2                                            709
  H DSP                          I,III,I V              *             608             698              115 %                                     4                               10           702
  ISP                               I,III                                               16                                                       2                                              18
  K VSP                             I,I V                           1, 0 0 0      1, 1 3 3             113 %               96             105             109 %                  12        1, 2 3 8   S NY E OP

  L A C                          I,III,I V             +            1, 0 0 0          740                 74 %          300               267               89 %                 12        1, 0 0 7
  M CSP                         I,II,III,I V           +            1, 1 4 9      1, 2 8 1             111 %            510               499               98 %                     8     1, 7 8 0   S NY E OP

  N KSP                             I,III                               80            111              139 %                                     1                               10           112
  P BSP                             I,I V               *             349             277                 79 %             66               73            111 %                  10           350
  P VSP                             I,III                           1, 4 9 9      1, 5 9 8             107 %                                     4                                   6     1, 6 0 2
  RJ D                               I,III                            800             806              101 %            330               285               86 %                 14        1, 0 9 1
  S A C                             I,I  V              *             849             728                 86 %          384               380               99 %                 24        1, 1 0 8
  S ATF                          II,III,I V             *           1, 1 9 9      1, 4 3 6             120 %                                     9                               20        1, 4 4 5
  S C C                           I,II,III                            499             578              116 %                                12                                                590
  S OL                             II,III                           1, 1 9 9      1, 4 2 7             119 %                                     6                                   9     1, 4 3 3
  S Q                                I,II                             350             575              164 %                                65                                                640
  S VSP                             I,I V               *             999             919                 92 %          192               183               95 %                 10        1, 1 0 2

H e alt h C ar e Pl a c e m e nt O v er si g ht Pr o gr a m                                                                                                                                                                                 Pri nt e d D at e: 8/ 2 8/ 2 0 0 9 7: 4 5: 5 2 A M
Di vi si o n of C orr e cti o n al H e alt h C ar e S er vi c e s                                                                                                                                                                                             R 1 R e v. 1 - P a g e 3 of 5
                                                       Case 2:90-cv-00520-KJM-SCR                                           Document 6768                          Filed 07/15/20               Page 52 of 53
Gro u p                                                                      C C C MS                                           E O P ( 2)                     M H CB
                                                                             C u r r e nt      % of                         C u r r e nt          % of                               T ot al
  I nstit uti o n ( 1)                                       C a p a cit y       Po p       C a p a cit y   C a p a cit y       Po p           C a p a cit y   C a p a cit y
                                                                                                                                                                                                            C o m m e nts
                                                                                                                                                                                   M H Po p

  VSP W                                                             687             890          130 %                                     5                                            895
  WSP                         I,III                                 105               69            66 %                                                                       6          69
      G r o u p T ot al f o r G P                             2 0, 4 7 6      2 2, 6 3 8        111 %          3, 2 7 0         3, 2 5 8         100 %                 336         2 5, 8 9 6



R e c e pti o n C e nt e r ( R C)
  C CI- R C                                                         166             203          122 %                                29                                                232
  C C W F- R C                                                      154             170          110 %                                                                                  170
  CI M- R C                                                         633             607             96 %                            163                                                 770
  CI W- R C                                                         132             151          114 %                                                                                  151
  D VI- R C                                                         564             517             92 %                              35                                                552
  H D S P- R C                                                        91            115          126 %                                     5                                            120
  L A C- R C                                                        149             265          178 %                                81                                                346
  N K S P- R C                                                      719             817          114 %                                72                                                889
  R J D- R C                                                        399             457          115 %                                78                                                535
  S Q- R C                                                          549             518             94 %                              41                                                559
  V S P W- R C                                                      162             157             97 %                              13                                                170
  W S P- R C                                                        944         1, 0 7 9         114 %                                90                                             1, 1 6 9
         G r o u p T ot al f o r R C                            4, 6 6 2        5, 0 5 6        108 %                               607                                              5, 6 6 3



S e c u rit y H o usi n g U nit ( S H U)
  C CI- S H U                                                       130             145          112 %                                     8                                            153
  C O R- S H U                                                      450             446             99 %                                   1                                            447
  P BSP S H U                                                                         15                                                                                                  15
  S A C S H U                                                                         29                                                                                                  29
  VSP W S H U                                                                         29                                                   2                                              31
        G r o u p T ot al f o r S H U                               580             664         114 %                                 11                                                675




H e alt h C ar e Pl a c e m e nt O v er si g ht Pr o gr a m                                                                                                                                                     Pri nt e d D at e: 8/ 2 8/ 2 0 0 9 7: 4 5: 5 2 A M
Di vi si o n of C orr e cti o n al H e alt h C ar e S er vi c e s                                                                                                                                                                 R 1 R e v. 1 - P a g e 4 of 5
                                                          Case 2:90-cv-00520-KJM-SCR                                                Document 6768                                   Filed 07/15/20              Page 53 of 53
Gro u p                                                                         C C C MS                                                   E O P ( 2)                           M H CB
                                                                                C u r r e nt      % of                              C u r r e nt             % of                                    T ot al
  I nstit uti o n ( 1)                                        C a p a cit y         Po p       C a p a cit y        C a p a cit y       Po p              C a p a cit y         C a p a cit y
                                                                                                                                                                                                                                         C o m m e nts
                                                                                                                                                                                                   M H Po p

         G R A N D T O T A LS                                 2 5, 7 1 8        3 0, 0 7 4     1 1 6. 9 %            3, 7 6 3         4, 3 9 0          1 1 6. 7 %                 336             3 4, 4 6 4




                                                               P S U ( 2)                                                                                          D M H                                                   G R A N D T O T A LS
                                                           C u r r e nt          % of                                                                            C u r r e nt         % of                                  ( Wit h o ut M H C B d at a)
                                          C a p a cit y        Po p           C a p a cit y                                                   C a p a cit y          Po p          C a p a cit y                T ot al M H        T ot al M H          P e r c e nt of
                                                                                                                                                                                                                 C a p a cit y     P o p ul ati o n      T ot al M H
                            CI W                    10                    6        6 0. 0 %                       A S H-I C F                      256                    170          6 6. 4 %
                           P BSP                 128                116            9 0. 6 %                       C S H-I C F                        50                    50       1 0 0. 0 %                      3 0, 7 0 1          3 5, 4 8 5        1 1 5. 6 %

                            S A C                256                230            8 9. 8 %                      C M F- A P P       ( 3)           162                    127          7 8. 4 %

                  T ot al P S U                  394                352            8 9. 3 %                       C M F-I C F                        84                    67          7 9. 8 %
                                                                                                               C M F-I C F- H       ( 4)             30                    26          8 6. 7 %
                                                                                                           S V P P-I C F- H                        244                    229          9 3. 9 %

                                                                                                               T ot als D M H                      826                    669         8 1. 0 %




R e p ort F o ot n ot e s
( 1) " + " i s a 2 7 0 D e si g n F a cilit y. " * " i s a 1 8 0 D e si g n F a cilit y.
( 2) E O P, A S U- E O P, a n d P S U m a y n ot r efl e ct a ct u al pr o gr a m v a c a n ci e s b e c a u s e b e d s c a n b e h el d v a c a nt f or i n m at e- p ati e nt s t e m p or aril y h o u s e d i n M H C B a n d O H U.
 ( 3) C M F- A P P c a p h a s b e e n t e m p or aril y r e d u c e d fr o m 1 6 6 t o 1 6 2. T h er e i s a S ui ci d e Pr o ofi n g Pr oj e ct c urr e ntl y u n d er w a y. T hi s pr oj e ct b e g a n o n 4/ 2 0/ 0 9 a n d i s e x p e ct e d t o
 c o nti n u e t hr o u g h 2 0 1 0. D uri n g t hi s p eri o d, f o ur b e d s will b e d o w n at a ti m e.
 ( 4) P ur s u a nt t o t h e 6/ 1 7/ 0 9 C ol e m a n c o urt or d er, 3 6 hi g h c u st o d y I C F b e d s at C M F c o n v ert e d t o A P P b e d s. T h e C M F A P P c a p a cit y i n cr e a s e d b y 3 6 a s p ati e nt a d mi s si o n s
 b e g a n 8/ 2 1/ 0 9.


H e alt h C ar e Pl a c e m e nt O v er si g ht Pr o gr a m                                                                                                                                                                                 Pri nt e d D at e: 8/ 2 8/ 2 0 0 9 7: 4 5: 5 3 A M
Di vi si o n of C orr e cti o n al H e alt h C ar e S er vi c e s                                                                                                                                                                                             R 1 R e v. 1 - P a g e 5 of 5
